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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


   DANNY GALLAGHER,              )           CIVIL NO. 1:18-cv-00364-LEK-
                                 )           KJM
                 Plaintiff,      )
                                 )           FOURTH AMENDED
             vs.                 )           COMPLAINT FOR DAMAGES
                                 )           AND DEMAND FOR JURY TRIAL
   MATERNITYWISE INTERNATIONAL )
   LLC, ANNE CROUDACE, JANE      )           1. Libel
   HOPAKI, EMILEE SALDAYA,       )           2. Libel Per Se
   RACHAEL AUGHENBAUGH,          )           3. Trade Libel
   JENNIFER CHIDESTER,           )           4. False Light
   STEPHANIE BYERS, BETHANY      )           5. Intentional Infliction of
   KIRILLOV, SAMANTHA LAJOIE,    )              Emotional Distress
   AERIN LUND, KATE PAVLOVSKY,   )           6. Negligent Infliction of Emotional
   CHANNA JAYDE WALZ, MADDISON )                Distress
   SISLEY BOULTER, ESME          )           7. Permanent Injunction
   WHRITENOUR, ADRIANNA          )           8. Declaratory Relief
   BROOKS, NICOLETTE RAYMOND, )
   JULIE BELL, CARA GWIZD, HOLLY )

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   LEPPARD-WESTHAVER, ELOISE                  )
   VICTORIA, VIVIAN CHAU BEST,                )
   JANE DOE ONE, JANE DOE                     )
   THREE, and DOES 1-10, inclusive,           )
                                              )
                     Defendants.              )

        Plaintiff, DANNY GALLAGHER, an individual, hereby, by and through
  its counsel of record, allege as follows:
                          I.JURISDICTION AND VENUE
  1.    This court has original jurisdiction under 28 U.S.C. §1332, because
        all plaintiff is a citizen of the state of Hawai’i and all defendants are
        citizens of the states other than the state of Hawai’i. Additionally, the
        amount in controversy in this matter exceeds $75,000.00, exclusive
        of costs and interests as more specifically plead infra.
  2.    Venue is proper under 28 U.S.C. §1391(b)(1), because all defendants
        reside in the Federal District of Hawai’i and further proper under 28
        U.S.C. §1391(b)(2), because a substantial amount of the events and
        omissions giving rise to the claim occurred in the Federal District of
        Hawai’i, and otherwise were knowingly directed at harming a citizen
        of the State of Hawai’i and the citizens ability to take part in his
        occupation, as more specifically plead infra.
                                    II.PARTIES
  3.    Plaintiff, DANNY GALLAGHER (Gallagher or Plaintiff) is, and was,
        at all times relevant, domiciled in Hawai’i and thus a citizen of
        Hawai’i.
  4.    Defendant, MATERNITYWISE INTERNATIONAL LLC (MATWISE),
        is, and was, at all relevant times, a limited liability company, acquiring
        its charter under the laws of the state of New York all of its partners
        and members being citizens of the State of Texas and New York.
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  5.    Defendant, Anne Croudace (CROUDACE) is, and was at all relevant
        times, domiciled in the State of New York and thus a citizen of the
        State of New York.
  6.    Defendant, Jane Hopaki (HOPAKI), named and referred to in the
        prior complaints as, “Elizbeth Anoatubby”, sometimes using the name
        “Jane Yaakni Hopaki” and Elizabeth Anoatubby, is, and was at all
        relevant times, domiciled in the State of Minnesota and thus a citizen
        of the State of Minnesota.
  7.    Defendant, Emilee Saldaya (SALDAYA), sometimes using the
        identity Emily Benner and Emilee Saldaya is, and was at all relevant
        times, domiciled in the State of Colorado and thus a citizen of the
        State of Colorado.
  8.    Defendant, Rachael Aughenbaugh (AUGHENBAUGH), named and
        referred to in the prior complaints as, “Rachael Brown”, sometimes
        using the name “Rachael Phoenix”, “Rachael BirthKeeper Phoenix”
        and Rachael Brown is, and was at all relevant times, domiciled in the
        State of Colorado and thus a citizen of the State of Colorado.
  9.    Defendant, Jennifer Chidester (CHIDESTER) named and referred to
        in the prior complaints as, “Jenna Chidester”, sometimes using the
        name “Jenna Chidester” is, and was at all relevant times, domiciled in
        the State of Oregon and thus a citizen of the State of Oregon.
  10.   Defendant, Stephanie Byers (BYERS), named and referred to in prior
        complaints as “Stephanie Gilbert”, sometimes using the name
        “Stephanie BYERS”, is, and was at all relevant times, domiciled in the
        State of Iowa and thus a citizen of the State of Iowa.
  11.   Defendant, Bethany Kirillov (KIRILLOV), named and referred to in
        the prior complaints as “”Bethany Kirillova”, sometimes using the
        identity Bethany Kirillova, is, and was at all relevant times, domiciled
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        in the State of Alaska and thus a citizen of the State of Alaska
  12.   Defendant, Samantha Lajoie (LAJOIE) is, and was at all relevant
        times, domiciled in the State of North Carolina and thus a citizen of
        the State of North Carolina.
  13.   Defendant, Aerin Lund (LUND) is, and was at all relevant times,
        domiciled in the State of Utah and thus a citizen of the State of Utah.
  14.   Defendant, Kate Pavlovsky (PAVLOVSKY) is, and was at all relevant
        times, domiciled in the State of Texas and thus a citizen of the State
        of Texas.
  15.   Defendant, Channa Jayde Walz (WALZ) is, and was at all relevant
        times, domiciled in the State of Arizona and thus a citizen of the State
        of Arizona.
  16.   Defendant, Madison Sisley Boulter (BOULTER), named and referred
        to in the prior complaints as “Maddison Weikle”, sometimes using the
        social media identity “Maddie Boulter”, is, and was at all relevant
        times, domiciled in the State of North Carolina and thus a citizen of
        the State of North Carolina.
  17.   Defendant, Esme Whritenour (WHRITENOUR), is, and was at all
        relevant times, domiciled in the State of Oregon and thus a citizen of
        the State of Oregon.
  18.   Defendant, Adrianna Brooks (BROOKS) named and referred to in the
        prior complaints as “Jane Doe Two” using the social media identity
        “Aydree Ahnah” and sometimes known as Adrianna Hutchinson, is,
        and was at all relevant times, domiciled in the State of California and
        thus a citizen of the State of California.
  19.   Defendant, JANE DOE ONE, using the social media identity “Jess
        Young” (YOUNG), is, and was at all relevant times, not domiciled in
        the State of Hawai’i and thus not a citizen of the State of Hawai’i.
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        Plaintiff will amend the complaint when the true name of JANE DOE
        ONE is ascertained.
  20.   Defendant, JANE DOE THREE, using the social media identity
        “Marie-Soleil Deschamps” (DESCHAMPS), is, and was at all relevant
        times, not domiciled in the State of Hawai’i and thus not a citizen of
        the State of Hawai’i. Plaintiff will amend the complaint when the true
        name of JANE DOE THREE is ascertained.
  21.   Defendant, Nicolette Raymond (RAYMOND) is, and was at all
        relevant times, domiciled in Ontario, Canada and thus a citizen of
        Canada.
  22.   Defendant, Julie Bell (BELL), sometimes using the social media
        identity “Melbourne Doula Birth Support”, is, and was at all relevant
        times, domiciled in Victoria, Australia and thus a citizen of Australia.
  23.   Defendant, Cara Gwizd (GWIZD), is, and was at all relevant times,
        domiciled in Canada and thus a citizen of Canada.
  24.   Defendant, Holly Leppard-Westhaver (LEPPARD-WESTHAVER),
        sometimes using the name “Hollie Michelle” is, and was at all relevant
        times, domiciled in Canada and thus a citizen of Canada.
  25.   Defendant, Eloise Victoria (VICTORIA), is, and was at all relevant
        times, domiciled in New South Wales, Australia and thus a citizen of
        Australia.
  26.   Defendant, Vivian Chau Best (BEST), is, and was at all relevant
        times, domiciled in the State of California and thus a citizen of the
        State of California.
  27.   The full extent of the facts linking the fictitiously named designated
        defendants with the claims alleged herein is unknown to plaintiff, or
        the true names and/or capacities, whether an individual, plural,
        corporate, a partnership, an associate, or otherwise, of defendants,
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        DOES 1 through 10, inclusive, are unknown to plaintiff. Plaintiff
        therefore sues defendants by such fictitious names. Plaintiff is
        informed and believe, and thereon alleges that each of the
        defendants designated herein as a DOE is negligently, wantonly,
        recklessly, tortiously, intentionally, strictly and unlawfully responsible
        in some manner for the events and happenings herein referred to,
        and did negligently, wantonly, recklessly, tortiously, intentionally,
        strictly and unlawfully proximately cause injuries and damages
        thereby to plaintiff, as herein alleged. Plaintiff will amend this
        Complaint to allege said defendants’ true names and capacities when
        same have been ascertained. Each reference to “defendant,”
        “defendants,” or a specifically named defendant, refers to all
        defendants including those sued under fictitious names.
  28.   At all times herein mentioned, each defendant was the agent,
        principal, master, servant, employer, employee, partner and joint
        venturer of the other defendants, and in doing the things hereinafter
        mentioned, was acting in the scope of his, her, or its authority as
        such, and with the permission and consent of the other defendants,
        and each of them.
             III.FACTS COMMON TO ALL CAUSES OF ACTION
  32.   Each, and every, defamatory statement described herein has gone
        “viral”; that is to say that the described defamatory statements have
        been shared, forwarded, commented on and used hundreds to
        thousands of times on, and in, the same social media platform the
        defamatory statement(s) were originally made or posted, and also on,
        and in, other social media platforms different from the platform in
        which the defamatory statements were originally made or posted. The
        viral nature of the defamatory statements and subject matter was of
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        no doing of plaintiff. Gallagher has made numerous and every
        reasonable effort to prevent the further dissemination of the lies that
        have been spread about him, lies that were intended to prevent
        Gallagher from engaging in his constitutional right to pursue the
        lawful occupations and professions that he has been engaged in the
        past few years, including as a photographer and a doula.
  33.   The herein unjustifiable acts of the defendants have been as
        successful as each of the defendants intended, that is to say, that
        each of the defendant’’ acts have irreparably damaged Gallagher’s
        reputation, personal relationships, business relationships, income,
        emotional well-being, and financial well-being, inter alia.
  34.   MATWISE is a business that promotes the training of persons who
        want to become doulas, who are persons who provide assistance
        during the childbirth process. Although no state requires government
        mandated training or certification, for a large fee MATWISE provides
        “certification” through the completion of its training courses.
        MATWISE characterizes its “graduates” as “certified” to create and
        manufacture a public perception that paying for and completing a
        series of MATWISE courses will somehow legitimize its graduates. In
        fact, there is no government-regulated medical program or any major
        or minor United States educational institution that offers certification
        to be a doula, or call oneself a doula. Any person who wants to call
        himself or herself a doula may do so without regulatory oversight.
        MATWISE and its principals make and enjoy a profit from its
        perceived regulatory behavior.
  35.   On information and belief, the business form of MATWISE is a limited
        liability company.
  36.   CROUDACE is a principal of MATWISE and has been “certified”
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        through MATWISE as a
        (1)“MaternityWise Certified Labor Doula Trainer”
        (2)“MaternityWise Certified PostPartum Doula Trainer”
        (3)“MaternityWise Placenta Encapsulation Certification”
        (4)“MaternityWise Certified Lactation Support and Educator Trainer”
  37.   CROUDACE conducts business through numerous fictitious business
        names, including, “Maternity Wise”, “Maternity Wise International”,
        “MaternityWise Intl”, “MaternityWiseInternational”, “Maternity Wise
        Institute”, inter alia.
  38.   MATWISE conducts business through fictitious business names,
        including, “Maternity Wise”, “MaternityWise Intl”,
        “MaternityWiseInternational”, “Maternity Wise Institute”, inter alia.
  39.   CROUDACE and MATWISE use the web address
        http://www.maternitywise.com, the Facebook page
        https://www.facebook.com/pg/maternitywise.intl/about/?ref=page_inte
        rnal and various social media discussion groups to market to those
        intending on become “certified” doulas through its program.
        CROUDACE and MATWISE reach out to the residents of every state
        and country, including the State of Hawai’i, to find candidates, i.e.,
        clients and students, for its certification programs that CROUDACE
        and MATWISE derive income.
  40.   In order to lure candidates to paying for its programs and classes,
        CROUDACE and MATWISE use the fact that they have in the past,
        and in the future, provided training in Hawai’i and do so to capitalize
        on the natural beauty and tourism in Hawai’i.
  41.   Gallagher exchanged valuable consideration and did undergo the
        certification program provided by CROUDACE and MATWISE in
        Hawai’i and did so through CROUDACE’s and MATWISE’s marketing
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        efforts in the State of Hawai’i.
  42.   Gallagher operated, and operates, a Hawai’i business in photography
        and also is employed as a doula.
  A.    Defendants’ use of Facebook to target Gallagher in Hawai’i with
        the knowledge that Gallagher lives and works in Hawai’i.
  43.   Facebook is a social networking website wherein users create a
        customized profile to connect with other users or visitors by “posting”
        communications, including photos and documents, for other users to
        read and review. As of January 2018 Facebook had more than 2.2
        billion monthly active users. All defendants were aware of Facebook’s
        extensive reach and the “viral” effect that defendants’
        communications could have; in fact each and all herein defendants
        intended on having their communications “go viral”, “viral” meaning
        that a communication is republished thousands of times in a short
        period of time.
  44.   Herein “users” and “visitors” can be used interchangeably. “Users” of
        Facebook and Facebook Pages (infra) generally refer to Facebook
        subscribers who have their own personal or Facebook Pages
        accounts, whereas “visitors” are generally those persons who are not
        Facebook subscribers. Facebook subscribers’ pages that are made
        “public” can be accessed by any person, whether or not the person
        has a Facebook account. “Private” Facebook accounts are accessible
        to those persons who also have a Facebook account, i.e., between
        users, and consent is given to view the pages associated with the
        account.
  45.   Facebook also allows persons to create a business page through
        “Facebook Pages”. Facebook represents, inter alia, on its creation
        page that Facebook Pages are used to “[c]reate [a] beautiful online
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         home for your business” and that the pages “[i]ncrease awareness of
         your business with a free online presence …”, also “[c]reating a
         Facebook Page allows the more than 2 billion people on Facebook to
         discover your business – think of your Page as a digital storefront…”
         and “2/3 of Facebook users across all countries surveyed say they
         visit the Page of a local business at least once a week.”
   46.   On all dates relevant, including 2018, Gallagher maintained a
         business page on Facebook called “Danny the Doula”, i.e., separate
         from his personal identity page.
         1.    The Danny the Doula and Maternity in Motion Facebook
               Business Pages are patently operated by a person who
               lives and works in Hawai’i and directs its business to serve
               the citizens of Hawai’i or those who desire a Hawaiian
               themed audio visual product or assisted childbirth in
               Hawai’i.
   47.   The Danny the Doula business page (DTD), like many business
         websites, have subpages that categorize certain aspects of the
         business, i.e., akin to visiting different departments of a business, that
         cater to the varying interactive interests of users.
   48.   The DTD business page has seven subpages, specifically Home,
         Posts, Reviews, Photos, About, Community and Info and Ads.
   49.   When interacting with DTD, the Home page is the first page that a
         user or visitor must interact with before accessing DTD. The Home
         page uses Hawaiian words and phrases, for example, “Aloha Kakou”,
         “Mahalo”, “Aloha” and lists Gallagher’s 808 phone number,
         communicating, signifying and establishing that Gallagher lives in
         Hawai’i and that the business is a Hawai’i based business.
   50.   The DTD business page also directs users and visitors to “[p]lease
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         support me by liking and subscribing to my sister page for all
         maternity and birth visuals @Maternity in Motion! Mahalo!,” including
         a link to Gallagher’s other Facebook Pages (business) site
         maternityinmotion.
   51.   The DTD Home page also has another separate link to
         www.maternityinmotion.com.
   52.   The Maternity in Motion business page (MIM) displays Gallagher’s
         audio-visual work and uses such to promote his photography
         business. MIM has samples of Gallagher’s work providing photos and
         videos of pregnant women immersed in the backdrops of Hawai’i, for
         example Haleakala, Maui, Makena, Maui, Kihei, Maui, and St. Louis
         Heights, Oahu. The videos and photographs are overwhelmingly of
         scenes in Hawai’i that cannot be mistaken as to location because of
         the express statement of where the photo shoots took place.
         Gallagher’s Hawai’i area code phone number is displayed on every
         subpage on MIM.
   53.   The connection of DTD and MIM are not separable and every person
         who visited DTD or MIM were fully aware that Gallagher was
         operating a doula and photography business that was based in the
         state of Hawai’i and was primarily reaching out to and for the
         business of Hawaiian citizens or whoever wanted a Hawaiian
         experience.
         2.   Defendants’ knowledge that Gallagher lives and works in
              Hawai’i by those who interacted with Docker’s post on the
              DTD Reviews page on June 3, 2018 and after.
   54.   After reviewing the Home page of DTD, every defendant herein then
         visited the DTD Reviews page to post defamatory statements about
         Gallagher and his businesses.
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   55.   The “Reviews” page is a page expressly made to review the
         business, in the instant case, Gallagher doing business as a doula
         and photographer through DTD.
   56.   Each and every defendant was fully aware that a comment, reply,
         emoji, post, inter alia, on DTD or MIM would affect Gallagher’s
         reputation as a doula and photographer and consequently his
         photography and doula business.
   57.   One of the first posted reviews was a post on June 3, 2018 made by
         Chrystal Docker (DOCKER). DOCKER defended Gallagher’s
         integrity, transparency and high level of professionalism, including
         that the below described false accusations made by MATWISE and
         CROUDACE were false and not supported by any evidence.
         (attached hereto as Exhibit “2” and incorporated herein by this
         reference is a true and correct copy of the pertinent part DOCKER’s
         post defending Gallagher and the following replies. It should be noted
         however that others might have deleted a reply prior to making the
         herein copy or otherwise prior to when the DTD was disabled to
         prevent further libel.)
   58.   Soon after DOCKER’s positive review, Facebook placed the review
         above all other reviews so that any and all visitors of DTD would have
         to first read DOCKER’s review and subsequent posts by others
         including DOCKER’s statement that Gallagher lived in Hawai’i.
   59.   Defendants, YOUNG and AUGHENBAUGH, with AUGHENBAUGH
         using the identity “Rachael BirthKeeper Phoenix”, responded and
         posted laughing emojis to DOCKER’S review, acknowledging that
         YOUNG and AUGHENBAUGH disagreed with DOCKER’s statement.
   60.   After DOCKER’s post, defendant BOULTER sarcastically replied with
         the question, “[y]ou have personally met him?”
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   61.   Defendant, WALZ, responded and posted a thumbs-up emoji to
         BOULTER’s question, thereby apparently approving of the question.
   62.   DOCKER replied to BOULTER, “No he is in Hawai’i and I am
         stateside. But know him from birth group, talking on the phone,
         chatting online, etc. I’ve also talked to other people who know him
         and he has plenty of people backing him up. And most of the people
         who are coming out against him, don’t even know him, have never
         used his services, etc. They are only going by what they’ve heard
         today from these rumors being spread. Very petty, immature and
         unprofessional.”
   63.   Immediately after DOCKER’s reply that Gallagher lived in Hawai’i and
         in the same string of responses to BOULTER’s sarcastic question,
         YOUNG posted a false statement defaming Gallagher, “[m]ost of the
         women coming out against him HAVE dealt with him ….Victim
         dismissal is nothing new,” although the truth is that with the exception
         of CROUDACE, none of the accusers and persons committing
         defamation ever met Gallagher or have “dealt with him”. YOUNG’s
         response in accentuating “HAVE” attempted to directly refute
         DOCKER’s statement that Gallagher’s accusers have met him. As
         such, YOUNG acknowledges the review of DOCKER’s post,
         establishing YOUNG’s knowledge that YOUNG was aware that
         Gallagher lived in Hawai’i.
   64.   Defendant, WALZ and HOPAKI responded and posted a thumbs-up
         emoji to YOUNG’s defamatory statement, apparently approving of
         YOUNG’s defamation and established knowledge of DOCKER’s
         statement that Gallagher lived in Hawai’i.
   65.   Continuing in the same conversation, Jacob Hildreth, posted a
         response to the DOCKER’s second post that Gallagher lived in
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         Hawai’i, “[s]o …you don’t know him then. First Sentence of your
         review is a lie.” Jacob Hildreth’s response established that Jacob
         Hildreth did read the first sentence of DOCKER’s statement that
         Gallagher lived in Hawai’i.
   66.   Defendant, YOUNG posted a thumbs-up emoji to Jacob Hildreth’s
         statement acknowledging that YOUNG read the first sentence of
         DOCKER’s statement that Gallagher lived in Hawai’i and subsequent
         response by Jacob Hildreth.
   67.   Jordan Ashley Hocker (Hocker) then posted a direct response to
         DOCKER’s post of whether DOCKER ever had a face-to-face
         meeting with GALLAHER, “Chrystal Docker You haven’t actually met
         him but you’re attempting to say women who had a direct
         inappropriate experiences are just trying to discredit him by coming
         forward? …That literally makes no sense.” Hocker apparently
         acknowledges that Hocker read DOCKER’s second post including the
         first sentence of DOCKER’s statement that Gallagher lived in Hawai’i.
   68.   Defendant, YOUNG posted a thumbs-up emoji to Hocker’s reply.
   69.   Defendant, AUGHENBAUGH using the identity “Rachael BirthKeeper
         Phoenix” then posted, “[s]o sorry he is grooming you too!” which was
         a derogatory statement directed at DOCKER who in the string of
         posts and replies established that Gallagher lived and worked as a
         photographer and doula in Hawai’i. That is to say, AUGHENBAUGH’s
         statement acknowledges that AUGHENBAUGH was following along
         and reading DOCKER’s posts including the first sentence of
         DOCKER’s second post that Gallagher lived in Hawai’i.
   70.   “Grooming” becomes a prevalent theme of attacks made upon all
         those supporting Gallagher, that is to say, all those who support
         Gallagher have lost all volition to defend against Gallagher’s sexually
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         predatory behavior and the support was without merit expanding the
         scope of the defamation by discrediting and making factually false
         any and all positive statements about Gallagher and his photography
         and doula business.
   71.   Defendants, YOUNG and WALZ posted thumbs-up emojis to
         AUGHENBAUGH’s statement.
   72.   Continuing in the string of replies, defendant, CHIDESTER, posted,
         “Ok even if you don’t believe the handful of women who have come
         forward about him [meaning Gallagher] making them feel fetishized
         about him taking partially nude maternity pics but never actually
         providing the edited photos etc. …” That is to say, CHIDESTER’s
         statement acknowledges that CHIDESTER was following along and
         reading DOCKER’s posts including the first sentence of DOCKER’s
         second statement that Gallagher lived in Hawai’i because
         CHIDESTER’s post refuted the content of DOCKER’s post.
   73.   Defendant, YOUNG posted a thumbs-up emoji to CHIDESTER’s
         statement.
   74.   Elizabeth Geftakys (Geftakys) using the identity “Becca Russell” then
         posted the entire defamatory memorandum created and prepared by
         MATWISE and CROUDACE, described below and attached as
         Exhibit “1”. That is to say, Geftakys’ post acknowledges that Geftakys
         was following along and reading DOCKER’s posts including the first
         sentence of DOCKER’s second statement that Gallagher lived in
         Hawai’i. Geftakys’ post was not intended to standalone but used to
         refute DOCKER’s assertions supporting Gallagher.
   75.   Defendants, YOUNG, CHIDESTER and GWIZD posted thumbs-up
         emojis to Geftakys’ statement, thereby acknowledging that YOUNG,
         CHIDESTER and GWIZD were following along in the conversation
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         including DOCKER’s statement that Gallagher lived in Hawai’i.
   76.   As such, defendants who participated in the first string of replies that
         originated from DOCKER’s two posts on June 3, 2018 that
         established that Gallagher lived and worked as a photographer and
         doula in Hawai’i were fully aware that Gallagher lived and worked as
         a photographer and doula in Hawai’i. Specifically, defendants,
         AUGHENBAUGH, WALZ, BOULTER, YOUNG, HOPAKI,
         CHIDESTER and GWIZD were expressly aware that Gallagher lived
         and worked as a photographer and doula in Hawai’i when
         AUGHENBAUGH, WALZ, BOULTER, YOUNG, HOPAKI,
         CHIDESTER and GWIZD posted defamatory statements about
         Gallagher.
         3.    Defendants’ knowledge that Gallagher lives and works in
               Hawai’i by those who interacted with Hildreth’s post on the
               DTD Community page on June 7, 2018 and after.
   77.   On June 7, 2018, Jacob Hildreth posted on the Community page of
         DTD, ““Aloha Danny. You don’t know me but I know you. This is a
         problem. I know everything about you. from [sic] your battle with
         homelessness and obesity, to losing your wallet and home. And yes,
         the really disturbing stuff, using a trusted role to persuade pregnant
         women to do pornography. This is none of my business and I am
         indeed judging you. You need to make your profiles private, take that
         picture of the poor girl off your wall, and probably move off Maui. Not
         sure how life can remain the same for you from this point.”
   78.   Defendants, KIRILLOV and LAJOIE posted a thumbs up to Jacob
         Hildreth’s statement acknowledging that Gallagher lived and worked
         in Maui, Hawai’i.
   B.    Defendants’ Defamatory Statements
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   79.   After reviewing the DTD Home page, every defendant herein then
         visited the DTD Reviews page to post the above and below described
         defamatory statements about Gallagher and his businesses.
   80.   Defendants also then posted the same defamatory statements on
         and in Facebook groups that had thousands of members and links to
         other Facebook groups so that that tens of thousands of members did
         review the defamatory statements.
   81.   Before posting their defamatory statements, every defendant did
         review the string of posts and replies that extended from DOCKER’s
         review indicating that plaintiff lived in Hawai’i because Facebook
         positioned DOCKER’s review and post on the DTD Reviews page as
         the first review and post as the “most helpful.”
   82.   Each and every one of the defendants’ defamatory post was made
         after DOCKER’s post that Gallagher lived in Hawai’i and each and
         every defendant read DOCKER’s post that Gallagher lived in Hawai’i
         before making the defamatory post described herein.
         1.    Defendants, CROUDACE and MATWISE
   83.   On, or about, June 5, 2018, CROUDACE as an individual, and on
         behalf of the business entity MATWISE, prepared then disseminated
         to defendants, Elizbeth HOPAKI (HOPAKI), Madison BOULTER
         (BOULTER) and Elizabeth Geftakys (Geftakys) and others a
         “Memorandum of Official Statement” dated 05 June 2018. The
         Memorandum of Official Statement accused plaintiff, inter alia, of (1)
         furthering and promoting pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) being a sexual predator, acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
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         enticing others to participate in pornography because of the
         possibility of financial gain and plaintiff did so in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (4) encouraging pregnant
         women and others to become involved in selling pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (5) dishonesty in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceiving the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) being
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8)
         dishonesty in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) deception in his profession as a photographer for
         plaintiff’s sexual gratification, financial gain and self-interest; and (10)
         unethical conduct in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers. (MATWISE’s SET OF DEFAMATORY
         STATEMENTS) (attached hereto as Exhibit “1”.)
   84.   On or about June 5, 2018 and thereafter CROUDACE, expressly
         and/or impliedly directed others to republish MATWISE’s SET OF
         DEFAMATORY STATEMENTS through social media and thereafter
         others did republish MATWISE’s SET OF DEFAMATORY
         STATEMENTS through social media. CROUDACE knew that others,
         including HOPAKI, BOULTER, Geftakys, were republishing
         MATWISE’s SET OF DEFAMATORY STATEMENTS and did nothing


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         to stop the republishing of MATWISE’s SET OF DEFAMATORY
         STATEMENTS.
   85.   On, or about, June 4, 2018, Jess Young posted the statement on
         Facebook, thus published the statement on Facebook, and did so
         with the intent that many others would read the statement and
         republish the statement to others, “[t]his man [meaning Gallagher] is
         a predator, luring women into nude photo shoots, refusing to return
         paid-for photographs from session over a year later, selling women's
         nakedness to other males. After he has groomed a group of females,
         he pits them against one another and quietly messages individual
         women he has targeted as financially or emotionally struggling, and
         tries coercing them into sexualized photos and videos for his profit.
         There are screenshot after screenshot of this behavior, with multiple
         women. The only women speaking up for him are the ones he has
         groomed fully and have not been contacted about sex work for him,
         yet. They are victims of his as much as anyone else involved. The
         fact that they are demanding evidence beyond what has already been
         given, shows what a masterful work this man has done to keep
         women from protecting one another in the birthing community. He is a
         predator - beware.”
   86.   On the same day, CROUDACE, thus also MATWISE in furtherance
         of MATWISE’s business interest, posted a thumbs-up to the Young’s
         statement.
   87.   On the same day, in response to YOUNG’s statement BOULTER
         posted, “[H]e [referring to Gallagher] shared their photos without
         permission” and then BOULTER posted the entire defamatory
         memorandum created and prepared by MATWISE and CROUDACE,


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         described below and attached as Exhibit “1”, to which CROUDACE,
         posted a thumbs-up.
   88.   As such, CROUDACE and MATWISE approved and ratified the use
         of its memorandum by others and was n furtherance CROUDACE’s
         and MATWISE’s business interest.
               a.    Innuendo, Inducement and Colloquium
   89.   CROUDACE and MATWISE, in other communications with HOPAKI,
         BOULTER and Geftakys and in MATWISE’s SET OF DEFAMATORY
         STATEMENTS, did not attempt to prevent or otherwise limit use of,
         prevent the further publication of MATWISE’s SET OF
         DEFAMATORY STATEMENTS or the content therein, through social
         media, but instead CROUDACE and MATWISE encouraged the
         unlimited world wide dissemination of MATWISE’s SET OF
         DEFAMATORY STATEMENTS. CROUDACE and MATWISE have
         done absolutely nothing to prevent HOPAKI, BOULTER and Geftakys
         from referencing and republishing MATWISE’s SET OF
         DEFAMATORY STATEMENTS through social media platforms,
         including for example Facebook, Twitter and Instagram, since
         CROUDACE and MATWISE became fully aware of HOPAKI’s,
         BOULTER’s and Geftakys’ posting of MATWISE’s SET OF
         DEFAMATORY STATEMENTS on or about June 3, 2018 and posted
         a thumbs up to each posting of the memorandum.
   90.   In the two pages that consist of the MATWISE’s SET OF
         DEFAMATORY STATEMENTS, CROUDACE and MATWISE use the
         word “Integrity” five times; use the word “ethics” three times; use the
         word “pornography” nine times, use the word “credible” and phrases
         “sexual predator” and “excuses in context” each once; and use the
         words in reference to Gallagher’s character and conduct in his
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         personal and professional endeavors. The words are used in a
         negative manner and used to cast a false light about plaintiff’s
         conduct and character, including in the manner that plaintiff conducts
         his professions.
   91.   CROUDACE and MATWISE established credibility in MATWISE’s
         SET OF DEFAMATORY STATEMENTS by indicating that
         “authorities” are conducting an ongoing investigation targeting
         Gallagher’s conduct and market itself as an organization that has
         worldwide membership which is apparent from MATWISE’s website.
         In fact, no regulatory body or law enforcement agency has
         undertaken any investigation.
   92.   MATWISE’s SET OF DEFAMATORY STATEMENTS was understood
         by the thousands of persons who did review MATWISE’s SET OF
         DEFAMATORY STATEMENTS, to mean that Gallagher, inter alia, (1)
         furthered and promoted pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) was a sexual predator acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
         enticed others to participate in pornography because of the possibility
         of financial gain and plaintiff did so in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (4) strongly encouraged pregnant women and
         others to become involved in selling pornography in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (5) was dishonest in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceived the public in his practice as a doula for
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         plaintiff’s sexual gratification, financial gain and self-interest; (7) was
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8) was
         dishonest in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) was deceptive in his profession as a photographer
         for plaintiff’s sexual gratification, financial gain and self-interest; and
         (10) was unethical in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers.
   93.   Prior to CROUDACE and MATWISE publishing MATWISE’s SET OF
         DEFAMATORY STATEMENTS, CROUDACE and MATWISE
         knowingly did absolutely nothing to determine, or otherwise verify the
         truth of the defamatory statements and negative implications of
         MATWISE’s SET OF DEFAMATORY STATEMENTS and the
         accusations they leveled against plaintiff.
   94.   Prior to publishing MATWISE’s SET OF DEFAMATORY
         STATEMENTS, CROUDACE and MATWISE knew that the
         accusations were false, however still published MATWISE’s SET OF
         DEFAMATORY STATEMENTS and have since continued to publish
         MATWISE’s SET OF DEFAMATORY STATEMENTS to other
         persons, on social media, and directly to MATWISE’s subscribers and
         clients, family, friends, business acquaintances and persons
         CROUDACE and MATWISE do not have any prior knowledge, i.e.,
         indiscriminately publishing MATWISE’s SET OF DEFAMATORY
         STATEMENTS to whomever will listen, may use the internet and has
         the ability to read MATWISE’s SET OF DEFAMATORY


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         STATEMENTS, which was, and is, CROUDACE’s and MATWISE’s
         intention.
   95.   Moreover, CROUDACE and MATWISE have continued, through the
         present, to outwardly ratify, endorse, approve, consent, confirm and
         validate the accusations in MATWISE’s SET OF DEFAMATORY
         STATEMENTS to other persons, that is to say, that Gallagher inter
         alia, (1) furthered and promoted pornography in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (2) was a sexual predator
         acting in a manner that, and thereby, violated the ethical and
         professional practices of doulas and photographers and also violated
         criminal statutes; (3) enticed others to participate in pornography
         because of the possibility of financial gain and plaintiff did so in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (4) strongly encouraged
         pregnant women and others to become involved in selling
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (5)
         was dishonest in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (6) deceived the public in
         his practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (7) was unethical in his practice as a doula in a
         manner that, and thereby, violated the ethical and professional
         practices of doulas; (8) was dishonest in his profession as
         photographer in a manner that, and thereby, violated the ethical and
         professional practices of photographers; (9) was deceptive in his
         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) was unethical in his
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         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers, including by
         publishing to its members, subscribers, affiliated persons and any
         person interested becoming associated with CROUDACE and
         MATWISE that MATWISE’s SET OF DEFAMATORY STATEMENTS
         “will be available in PDF form on our website at the following URL:
         http://www.maternitywise.com/6-5-18StatmementMWI.pdf
   96.   It was, is, and has always been, untrue, and false, that plaintiff, inter
         alia, (1) furthered and promoted pornography in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (2) was a sexual predator
         acting in a manner that, and thereby, violated the ethical and
         professional practices of doulas and photographers and also violated
         criminal statutes; (3) enticed others to participate in pornography
         because of the possibility of financial gain and plaintiff did so in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (4) strongly encouraged
         pregnant women and others to become involved in selling
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (5)
         was dishonest in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (6) deceived the public in
         his practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (7) was unethical in his practice as a doula in a
         manner that, and thereby, violated the ethical and professional
         practices of doulas; (8) was dishonest in his profession as
         photographer in a manner that, and thereby, violated the ethical and
         professional practices of photographers; (9) was deceptive in his
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         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) was unethical in his
         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers.
         2.    Defendant, Jane Hopaki (HOPAKI)
   97.   On, or about, June 3, 2018, Jane Hopaki (HOPAKI), sometimes
         using the social media identity “Jane Yaakni Hopaki”, posted the
         statement on Facebook, thus published the statement on Facebook,
         to a Facebook group called Free Birth Society Group that had contact
         and links of tens of the thousands of other persons, and did so with
         the intent that many others would read the statement and republish
         the statement to others, “Birthy women, beware ‘male doula’ Danny
         Gallagher. He has been reported to his certifying body for his
         behavior in person an online with pregnant women. This man is a
         predator who has been on my radar and the radars of some very
         intelligent birthworker friends of mine for quite some time.”
         (HOPAKI’s FIRST SET OF DEFAMATORY STATEMENTS)
   98.   On, or about, June 3, 2018, HOPAKI posted the following statements
         on Facebook in communications between other Facebook members,
         to a Facebook group called Free Birth Society Group that had contact
         and links of tens of the thousands of other persons, thus published
         the statement on Facebook, and did so with the intent that many
         others would read the statement and republish the statement to
         others, “you are friends with this predator. [referring to plaintiff] …
         himself as a ‘millionaire serial entrepreneur’ and his target is
         vulnerable pregnant women. This is exploitation. … I set this [sic]
         posts to friends for that reason, but I guess because I tagged him his
         friends can see. … the new accounts of abuse keep flooding in
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         behind closed doors. I believe someone is compiling a file to provide
         to those who may actually need it, not to the women naysayers who
         demand proof instead of trusting and listening to the victims. I’ve
         seen plenty of proof, and I trust my gut, but let me say this: I need no
         proof to believe women or put the dots together that a single childless
         man has no good reason to be passionate about childbirth.” HOPAKI
         then posted MATWISE’s SET OF DEFAMATORY STATEMENTS on
         Facebook, thus published posted MATWISE’s SET OF
         DEFAMATORY STATEMENTS on Facebook, and did so with the
         intent that many others would read posted MATWISE’s SET OF
         DEFAMATORY STATEMENTS and republish the statement therein
         to others. (HOPAKI’s SECOND SET OF DEFAMATORY
         STATEMENTS)
         3.    Defendant, Emilee Saldaya (SALDAYA)
   99.   On, or about, June 9, 2018, Paula Brown Ricchi (RICCHI) defended
         Gallagher stating in a Facebook post that RICCHI has known “Danny
         for many years and have found him to be only honorable, kind,
         honest, encouraging and uplifting! I would work with Danny in a heart
         beat no matter what the circumstances!” and “[a]s I have stated,
         Danny has impeccable integrity: Definition: noun: the quality of being
         honest and having strong moral principles; moral uprightness.”
   100. On or about one week after RICCHI made the positive statement on
         Facebook about Gallagher, SALDAYA posted the statement on
         Facebook, to a Facebook group called Free Birth Society Group that
         had contact and links of tens of the thousands of other persons, thus
         published the statement on Facebook, and did so with the intent that
         many others would read the statement and republish the statement to
         others, “Paula Brown Ricchi Are you supportive of a man being in the
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         birth industry, a lactation consultant, and also grooming pregnant and
         breastfeeding women to be on porn sites? I would certainly not want
         my "male doula" or my "male lactation consultant" to also be telling
         other moms how to lactate for money on porn sites. But to each their
         own I suppose” and "Paula Brown Ricchi I'm sorry I am a bit
         confused, does that mean you either haven't seen the proof in which
         he is caught in the act of doing this, or you have experienced him to
         be transparent about both infiltrating the birth world and grooming
         women for sex work? I'd be happy to share the screen shots the
         women have shared off of this review, as screenshots get taken down
         here. That's wonderful to meet a woman who knows him personally
         that he hasn't made feel extremely uncomfortable, glad to know there
         is one out there!” (SALDAYA’s FIRST SET OF DEFAMATORY
         STATEMENTS)
   101. On, or about, June 3,2018, SALDAYA posted the statement on
         Facebook, including to a Facebook group called Free Birth Society
         Group that had contact and links of tens of the thousands of other
         persons, thus published the statement on Facebook, and did so with
         the intent that many others would read the statement and republish
         the statement to others, “[h]ere’s some wonderful evidence of Danny
         being a porn agent! I have received over 50 accounts of personal
         stories (some with screen shots some just personal narratives) of the
         many ways he has harassed, manipulated and victimized women.”
         SALDAYA then posted communications between plaintiff and another
         person that SALDAYA asserted as “evidence” that plaintiff was a
         sexual predator. SALDAYA’s “evidence” were screenshots of a
         communication between plaintiff and another person however the
         “evidence” was presented by SALDAYA in a disjointed manner,
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         lacking continuity, and without including the complete communication,
         thus in a way as to lead others to believe that plaintiff was a sexual
         predator. In no way could the communication be construed as
         predatory conduct if the truthful context was presented by SALDAYA.
         The true context of the communication between plaintiff and the other
         person was that the other person was asking and inquiring from
         plaintiff of means in which the other person might be able to derive
         income from certain media, because of plaintiff’s knowledge,
         experience and training in media and promotion. SALDAYA then
         further posted, thus published, on Facebook in the same string,
         “[p]lease remember predators are often charming, smart, and nice.
         They know how to push just enough. This is one of many exchanges
         women had reluctantly with him. Many women do not want to share
         their story or details publicly. …women aren't believing other women
         when they have the courage to call out a predator in our community?
         fucking shocker. The socialized misogyny runs so deep, it's painful.”
         (SALDAYA’s SECOND SET OF DEFAMATORY STATEMENTS)
   102. On or about June 3, 2018, SALDAYA indicated to a Facebook group
         called Free Birth Society Group that had contact and links of tens of
         the thousands of other persons, “you can use my words from the
         original post”, “the original post” accusing Gallagher, inter alia, of (1)
         furthering and promoting pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) being a sexual predator, acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
         enticing others to participate in pornography because of the
         possibility of financial gain and plaintiff did so in a manner that
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         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (4) encouraging pregnant
         women and others to become involved in selling pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (5) dishonesty in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceiving the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) being
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8)
         dishonesty in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) deception in his profession as a photographer for
         plaintiff’s sexual gratification, financial gain and self-interest; and (10)
         unethical conduct in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers. In the same string, or conversation on Facebook,
         SALDAYA posted the statement on Facebook, thus published the
         statement on Facebook, and did so with the intent that many others
         would read the statement and republish the statement to others, “this
         broker/pimp/predator is allowed to continue”, referring to plaintiff.
         (SALDAYA’s THIRD SET OF DEFAMATORY STATEMENTS)
   103. On or about June 3, 2018, SALDAYA indicated to a Facebook group
         called Free Birth Society Group that had contact and links of tens of
         the thousands of other persons that Gallagher “is a predator” and told
         those same tens of thousands of person who asked SALDAYA for the
         name of the person she believed was a predator that it was Gallagher
         who was the predator. (SALDAYA’s FOURTH SET OF
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         DEFAMATORY STATEMENTS)
               a.    SALDAYA’S CONNECTION TO HAWAI’I AND
                     KNOWLEDGE OF PLAINTIFF LIVING IN HAWAI’I
   104. For many years, SALDAYA lived on Maui, Hawai’i and that Gallagher
         lived in Maui, Hawai’i and ran a doula and photography business.
   105. Along with Yolande Norris-Clark, SALDAYA is the owner and
         principal of a for-profit business called Free Birth Society (FBS) that
         has a presence on the World Wide Web. For a fee, FBS provides
         training on childbirth without the assistance of medical professionals
         and also provides home birth “coaching packages”, i.e., doula
         services. FBS services are in direct competition with Gallagher’s
         intended profession.
   106. FBS has a large presence in the doula community on Instagram
         where from at least December 12, 2017 through February 1, 2018,
         SALDAYA used FBS’ Instagram account, or identity, to allow the
         general public to intimately follow her journey to Maui, Hawai’i for the
         birth of her child. Every photo posted by FBS and SALDAYA was
         that of an apparently pregnant SALDAYA immersed in a location that
         would normally be associated and recognized as in the state of
         Hawai’i.
   107. Throughout FBS’ and SALDAYA’s multiple Instagram posts, the
         words used and photos attached carried the theme of Hawai’i and
         was pervasive and constant, including displaying Hawai’i’s majestic
         natural beauty and splendor. Hawai’i was used as a prop to convince
         FBS and SALDAYA’s followers, i.e., potential clients, that what FBS
         and SALDAYA were offering was different from others in the freebirth
         and doula community. FBS and SALDAYA apparently intended to
         communicate to others, including potential clients, was that FBS and
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         SALDAYA would also bring others a birth that is natural, majestic and
         beautiful. As such, FBS and SALDAYA used Hawai’i in the
         advertisement of its business.
   108. From at least December 12, 2017 through February 1, 2018, FBS
         and SALDAYA posted Hawaiian themed advertisements on
         Instagram, each having multiple comments and hundreds of “likes”.
   109. On December 12, 2017, on the FBS Instagram account, FBS and
         SALDAYA posted a photo of SALDAYA in an airplane leaving for
         Maui, stating, “One way flights to Maui – a literal dream come true.
         …In our favorite place on the planet.”
   110. On December 16, 2017, on the FBS Instagram account, FBS and
         SALDAYA posted a video of a beach in Maui and posted “Mama
         Maui”.
   111. On December 16, 2017, on the FBS Instagram account, FBS and
         SALDAYA posted a photo of herself on a beach in Maui stating
         “Having arrived on the gorgeous island of Maui, we are actively call in
         our nest to call home for the birthing time.”
   112. On December 26, 2017, on the FBS Instagram account, FBS and
         SALDAYA posted another photo of SALDAYA, apparently pregnant,
         on a beach in Maui.
   113. On December 28, 2017, on the FBS Instagram account, FBS and
         SALDAYA posted a photo of herself in front of Hawaiian themed wall
         art and recognizable palm trees in the background, stating, “…it’s
         why I’m here, on this slow moving magical island – to watch the
         turtles sunbath (sic), to feel the sun set on my face, my feet in the
         sand, to fall asleep to the rain ….”
   114. On January 7, 2018, on the FBS Instagram account, FBS and
         SALDAYA posted a photo of herself in a Maui stating, “…Now I have
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         nothing to do but be here, in this sacred space, on this special island,
         opening up to a completely new existence inside myself.”
   115. On January 16, 2018, on the FBS Instagram account, FBS and
         SALDAYA posted another photo of SALDAYA, apparently pregnant,
         on a beach in Maui.
   116. On January 27, 2018, on the FBS Instagram account, FBS and
         SALDAYA posted another photo of SALDAYA, apparently pregnant,
         with and open Hawaiian themed blouse displaying her belly and
         wearing a haku lei.
   117. On February 1, 2018, on the FBS Instagram account, FBS and
         SALDAYA posted another photo of SALDAYA, apparently happy with
         her new born child, stating “…born freely at home in Maui, Hawai’i.”
   118. On February 19, 2018, on the FBS Instagram account, FBS and
         SALDAYA posted an advertising pamphlet advertising her doula
         services, stating “I am thrilled to announce my new project here in
         Maui, ‘Mamatoto’. Two wonderful mama friends and I are launching
         Village Prenatals for Hapai women and Motherbaby postpartum
         circles – upcountry and on the north shore, beginning in March. If you
         know any mamas on Maui please help us spread the word. …More
         info on www.mamatotomaui.com.”
   119. FBS and SALDAYA continued, and continue, to post Hawaiian
         themed photos and messages to advertise its doula services.
         4.    Defendant, Rachael Aughenbaugh (AUGHENBAUGH)
   120. On, or about, June 3, 2018, Chrystal Docker (DOCKER) defended
         Gallagher’s integrity, transparency and high level of professionalism,
         including that MATWISE’s accusations were false and not supported
         by any evidence, in a Facebook post.


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   121. On or about two weeks after DOCKER made the positive statement
         posted on Facebook about Gallagher and in response to DOCKER
         making the positive statement about Gallagher, AUGHENBAUGH
         sometimes using the social media identity “Rachael Phoenix” posted
         the statement on Facebook, including on and in DTD, thus published
         the statement on Facebook, and did so with the intent that many
         others would read the statement and republish the statement to
         others, “[s]o sorry to hear he’s grooming you too!”
         (AUGHENBAUGH’s FIRST SET OF DEFAMATORY
         STATEMENTS)
   122. Prior to AUGHENBAUGH publishing AUGHENBAUGH’s FIRST SET
         OF DEFAMATORY STATEMENTS, the term “groomed” was
         referenced in other Social Media discussions that AUGHENBAUGH
         participated in and reviewed, including discussions on Facebook
         referenced herein. “Groomed” was understood by AUGHENBAUGH
         to refer to Gallagher’s victims who were the object of plaintiff’s (1)
         furthering and promoting pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) being a sexual predator, acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
         enticing others to participate in pornography because of the
         possibility of financial gain and plaintiff did so in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (4) encouraging pregnant
         women and others to become involved in selling pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (5) dishonesty in his
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         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceiving the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) being
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8)
         dishonesty in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) deception in his profession as a photographer for
         plaintiff’s sexual gratification, financial gain and self-interest; and (10)
         unethical conduct in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers.
   123. AUGHENBAUGH was aware that the persons AUGHENBAUGH
         published AUGHENBAUGH’s FIRST SET OF DEFAMATORY
         STATEMENTS understood the meaning and implications of the term
         “groomed” in the manner that AUGHENBAUGH used the term, which
         was essentially that it was wrong for any person to discount or
         disbelieve the persons accusing Gallagher, inter alia, of (1) furthering
         and promoting pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (2) being a sexual predator, acting in a manner that,
         and thereby, violated the ethical and professional practices of doulas
         and photographers and also violated criminal statutes; (3) enticing
         others to participate in pornography because of the possibility of
         financial gain and plaintiff did so in a manner that violated the ethical
         and professional practices adhered to and expected of doulas and
         photographers; (4) encouraging pregnant women and others to
         become involved in selling pornography in a manner that violated the
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         ethical and professional practices adhered to and expected of doulas
         and photographers; (5) dishonesty in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (6)
         deceiving the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) being unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) dishonesty in his profession
         as photographer in a manner that, and thereby, violated the ethical
         and professional practices of photographers; (9) deception in his
         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) unethical conduct in his
         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers, and that the
         accusations were in fact true.
   124. On or about two weeks after WALZ, infra, posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “Bizarre, narcissistic
         and Predatory”, AUGHENBAUGH posted communications between
         plaintiff and another person that AUGHENBAUGH asserted as “proof”
         that plaintiff was a sexual predator. AUGHENBAUGH’s “proof” were
         screenshots of a communication between plaintiff and another person
         however were presented by AUGHENBAUGH in a disjointed manner,
         lacking continuity, and without including the complete communication,
         thus in a way as to lead others to believe that plaintiff was a sexual
         predator. In no way could the communications be construed as
         predatory conduct if the truthful and full context of the circumstances
         and communications were presented by AUGHENBAUGH. The true
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         context of the communication between plaintiff and the other person
         was that the other person was asking and inquiring from plaintiff of
         means in which the other person might be able to derive income from
         certain commercial media platforms. Plaintiff directed advised the
         other person based on plaintiff’s knowledge, experience and training
         in media and promotion. (AUGHENBAUGH’s SECOND SET OF
         DEFAMATORY STATEMENTS)
   125. On or about June 3, 2018 Channa Jayde Walz (WALZ) posted the
         statement on Facebook, including on and in DTD, thus published the
         statement on Facebook, and did so with the intent that many others
         would read the statement and republish the statement to others,
         “Bizarre, narcissistic and Predatory …I am not ashamed of warning
         women of a predatory man. …The screenshots and his own
         interactions within birth spaces say otherwise [i.e., that plaintiff is not
         a sexual predator] …None of the other male doulas I've seen display
         predatory behavior or are messaging vulnerable women about selling
         their panties "tactfully" on the internet … Defend him all you want. My
         views based on what I have seen him post in groups and based off
         what other women have accounted and shown from him is enough for
         me to feel it pertinent other women know of this. Multiple women
         have come forward and I believe them along with what I've seen for
         myself.
         I'm basing my opinion off of interactions I quietly sat back and
         observed on various occassions [sic] in different places. His polls and
         post and interactions with women within birthing spaces was bizarre
         and narcissistic at minimum and definitely predatory. In all my years
         of being in birth communities never once have I heard of doula pm
         info on how to get in to sex work by selling panties etc to women in
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         financial crisis. A male doing this in predominately female spaces is
         predatory at best. The dismissal of various women's accounts against
         this one man is rather reminiscent of rape victims being silenced for
         speaking out against thier [sic] attackers. I know what I've seen and I
         most certainly believe the various accounts given and screen shotted
         by multiple women. Just because you've had a pleasant experience
         and do not find his behavior this way, does not mean others have not
         experienced otherwise or perceive his actions differently. … He has
         made himself known as a broker in the industry which enticed
         vulnerable women. Yes she reached out to him. Yes she had a
         conversation with him. You can then see how she gets a bit
         standoffish. He even asks if he has overwhelmed her. Ever been
         offered something that you later regret taking? Ever accepted a date,
         go to his home and then decide things maybe went too fast and you
         have second thoughts? Many women have the "nice girl" complex
         and don't know how to shut a man down once they no longer feel
         comfortable. Sex work is not the issue. The issue is that a MAN has
         targeted vulnerable women within birthing spaces. He is not just
         giving them advice and sending them on their way. He is having them
         send him their content and "building their platform" for them. He has
         also directed multiple women to ONE domain instead of giving
         resources for multiple places to do this. He is objectifying women in
         these spaces. … And again, this is not an isolated incident to just one
         or two women. … The other screen shots etc are not mine to share.
         When those women feel the time is right They will put them out there.
         Not me.”
   126. Immediately after and within the string of posts set forth immediately
         above, AUGHENBAUGH posted the statement on Facebook, thus
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         published the statement on Facebook, and did so with the intent that
         many others would read the statement and republish the statement to
         others, “Exactly what Channa said,” thus adding attempted add
         validity and veracity to WALZ’s defamatory statement.
         (AUGHENBAUGH’s THIRD SET OF DEFAMATORY
         STATEMENTS)
         5.    Defendant, Jenna Chidester (CHIDESTER)
   127. On, or about, June 3, 2018, Chrystal Docker (DOCKER) defended
         Gallagher’s integrity, transparency and high level of professionalism,
         including that MATWISE’s accusations were false and not supported
         by any evidence, in a Facebook post.
   128. On, or about, two weeks after DOCKER made the positive statement
         on Facebook about Gallagher and in response to DOCKER made the
         positive statement of Gallagher, CHIDESTER replied by, thus
         publishing, the statement on Facebook, including on and in DTD, “Ok
         even if you don’t believe the handful of women who have come
         forward about him making them feel fetishized, about him taking
         partially nude maternity pics but never actually providing the edited
         photos etc, I disagree with that approach but I guess you can play
         devil’s advocate if you want. But the video he posted to Doula Talk
         where he violated HIPAA over and over again, and then revealed
         details of a domestic violence situation about his ‘first birth client’ right
         after he posted photos of that client- that we all saw and watched with
         our own eyes in real time- this isn’t a conspiracy and you’re neutrality
         here is siding with the oppressor.” (CHIDESTER’s FIRST SET OF
         DEFAMATORY STATEMENTS)
   129. On, or about, June 6, 2018, CHIDESTER posted on the Facebook,
         including on and in DTD, that “Danny has revealed HIPAA protected
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         information and enough detail about domestic violence situations that
         his client was identifiable in self promotional YouTube and Facebook
         live videos, and then blocked birth workers who pointed out the ethic
         violations. This would disqualify him from certification w all reputable
         professional doula organizations. Just be careful, he has signaled
         many times over that he doesn’t care if that puts his client in danger.”
         (CHIDESTER’s SECOND SET OF DEFAMATORY STATEMENTS)
   130. In stating that those who disbelieved the accusations against
         Gallagher were “playing devil’s advocate” in CHIDESTER’s FIRST
         SET OF DEFAMATORY STATEMENTS, CHIDESTER represented
         that the accusations leveled against Gallagher were true.
   131. In CHIDESTER’s FIRST SET OF DEFAMATORY STATEMENTS and
         CHIDESTER’s SECOND SET OF DEFAMATORY STATEMENTS
         CHIDESTER stated that Gallagher violated the Health Insurance
         Portability and Accountability Act of 1996 (HIPPA) although Gallagher
         was not a covered entity under the Act and even if Gallagher was a
         covered entity, he never made any violation of any person’s privacy.
         CHIDESTER knew that Gallagher was not subject to compliance with
         HIPPA however wanted the thousands of persons CHIDESTER knew
         would review CHIDESTER’s statements that Gallagher was violating
         a law and that he was unethical, dishonest and practiced being a
         doula in a manner that fell below that expected of other doulas in the
         same circumstances.
         6.    Defendant, Stephanie Byers (BYERS)
   132. On, or about, June 5, 2018, BYERS, sometimes using the social
         media identity “Stephanie Byers”, posted the statement on Facebook,
         including on and in DTD, thus published the statement on Facebook,
         and did so with the intent that many others would read the statement
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         and republish the statement to others, “[e]very interaction I have
         witnessed from Danny on social media has been passive-aggressive,
         gaslighting, and an attempt to gain sympathies from those struggling
         with internalized misogyny. There are so many women who are left
         feeling violated by his actions, but nobody is bothering to validate the
         subtle abuse happening to them, only kowtowing to this
         presumptuous act Danny puts on. Red flags are all over this guy.“
         (BYERS’ FIRST SET OF DEFAMATORY STATEMENTS)
   133. BYERS was aware that the persons who read BYERS’ FIRST SET
         OF DEFAMATORY STATEMENTS understood the meaning and
         implications of the phrase “women who are left feeling violated by his
         actions” and “subtle abuse happening to them” in the manner that
         BYERS used the phrase, which was essentially that it was wrong for
         any person to discount or disbelieve the persons accusing Gallagher,
         inter alia, of (1) furthering and promoting pornography in a manner
         that violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (2) being a sexual predator,
         acting in a manner that, and thereby, violated the ethical and
         professional practices of doulas and photographers and also violated
         criminal statutes; (3) enticing others to participate in pornography
         because of the possibility of financial gain and plaintiff did so in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (4) encouraging pregnant
         women and others to become involved in selling pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (5) dishonesty in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceiving the public in his practice as a doula for
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         plaintiff’s sexual gratification, financial gain and self-interest; (7) being
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8)
         dishonesty in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) deception in his profession as a photographer for
         plaintiff’s sexual gratification, financial gain and self-interest; and (10)
         unethical conduct in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers, and that the accusations were in fact true.
   134. On, or about, June 3, 2018, BYERS posted the statement on
         Facebook, including Facebook groups that have thousands of
         members and links, thus published the statement on Facebook, and
         did so with the intent that many others would read the statement and
         republish the statement to others, “Danny Gallagher is a predator.
         Women have been his prey for a specific audience he gets
         compromising photos for, and he is NOT a doula of any kind. Be
         warned and steer clear. Political correctness has blinded so many
         into acceptance of predators into supposed safe spaces. Don’t worry,
         I have never accepted his requests to join any of my groups, and he
         is being exposed as we speak. If you are a moderator or admin for a
         birth group, I compel you to give him the boot immediately. He is a
         PIMP. Not a doula. … Its being worked on now by at least one of his
         victims speaking up. A file is being made…. Just the fact that he
         requests these photo shoots is one huge red flag. I dont know of any
         FEMALE doulas who do that … Ive [sic] seen milk bath photo shoots
         before and a couple other naked ones, come to think of it... However
         those have been more woman-led images of powerful (although not
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         my taste) art, and not woman-exposing images of exploitation. If you
         could see them side by side to compare, I think most people would
         note the stark contrast. …he gives off a VERY creepy vibe. Screen
         shots of his actual conversations requesting naked photos of
         women... I’d call that proof … I wont violate those women’s privacy to
         prove this guy is a predator. Its really quite shocking it has taken this
         long for some women to cotton on. … I have not been given the
         green light to share the evidence yet, but it is being compiled and a
         case is being made right now, by at least one of his victims who is
         speaking out. Women are being preyed upon by this guy, so yes, I
         am sending out a caution for those who will benefit from such a
         warning. … It makes me CRINGE to think of his predator eyes being
         in that supposed safe space” (BYERS’ SECOND SET OF
         DEFAMATORY STATEMENTS)
         7.    Defendant, Bethany Kirillov (KIRILLOV)
   135. On, or about, June 4, 2018, KIRILLOV responded to
         WHRITENOUR’S SET OF DEFAMATORY STATEMENTS and
         posted the statement on Facebook, including on and in DTD, thus
         published the statement on Facebook, and did so with the intent that
         many others would read the statement and republish the statement to
         others, “[t]here is much screenshotted evidence that this guy is luring
         vulnerable women into doing sexual videos and photography. He has
         used birth photos without permission and refuses to take them down.
         I have heard account after account that this guy is targeting pregnant
         and financially vulnerable victims. The truth has come out and he was
         never a birth worker in the first place. Do not let this man into your
         birthing space. He uses the word "doula" to gain women's trust. A
         doula literally means "woman servant". This person is not a servant of
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         women. He is very cunning in the way he lures and traps his victims.
         They feel he is charming and very helpful up front when in reality it's
         a way for him to profit off his sickness. He has a strange sexual fetish
         for women giving birth. He makes many ladies very uncomfortable
         and a few were brave enough to come forward with their evidence.
         He toots his horn in a way to show how "progressive" he is as a
         "male" doula. "I am special because I am a man interested in birth.
         Let me grace you with my presence.."       many are afraid to call him
         out for what he is because they like the idea of accepting a male
         doula and they do not want to discriminate because he is a man. I
         however, have no issue calling it what it is. Preying on women.
         Selling their birth pictures. Using their bodies as a financial gain
         without permission. No sir. Birth still belongs to women and you're not
         invited! Down with the patriarchy!" (KIRILLOV’s SET OF
         DEFAMATORY STATEMENTS)
   136. Since KIRILLOV’s SET OF DEFAMATORY STATEMENTS was
         made on the Facebook, including on and in DTD in the “Reviews
         Page”, and that WHRIITENOUR referred to “Danny”, KIRILLOV’s
         SET OF DEFAMATORY STATEMENTS was of an concerning
         Gallagher and the thousands of person who viewed KIRILLOV’s SET
         OF DEFAMATORY STATEMENTS understood the KIRILLOV’s SET
         OF DEFAMATORY STATEMENTS as of and concerning Gallagher.
         8.    Defendant, Samantha Lajoie (LAJOIE)
   137. On, or about, June 3, 2018 LAJOIE, posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “I had open
         conversations with multiple women who have came forward they [sic]
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         don't feel he is safe and should be a doula bc he has ulterior motives.
         He has been in the wrong many many times and women who
         personally know him have come forward. Many of us were asked not
         to share too much of the compiling info that is being gathered which
         will come forward in the near future.” (LAJOIE’s FIRST SET OF
         DEFAMATORY STATEMENTS)
   138. On, or about, June 9, 2018 LAJOIE, posted the statement on
         Facebook, thus published the statement on Facebook, including on
         and in DTD, and did so with the intent that many others would read
         the statement and republish the statement to others, “[so] it definitely
         appears my profile was permanently disabled bc I spoke up against a
         predator on FB and shared proof of such. Some of his followers
         flagged my review as spam/abusive so apparently on FB now women
         cannot speak up against such or we may be banned from fb. This is
         ridiculous I should not have lost my account for speaking up and
         telling other women and nothing I wrote was out of line just that he
         was a predator and a liar, screen shots of proof and standing up for
         all the women who came forward. How is that acceptable for fb to
         silent me and other's who did such bc I'm not the only one who got
         my account disabled and reported, but many who did speak up and
         still are have not had anything done to them but I believe those who
         shared proof were removed. So I guess fb protects predators and
         silences those speaking out. This is wrong and I will fight for my
         profile back because they are in the wrong for protecting that man. I
         have seen child pornography posted from people who don't loose
         their pages or groups, sex predators, racism, prejudice, real abusive
         post and comments and nothing done about it or taken serious but
         they try and silence me! If anyone on my friends list wants to
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         message fb support standing up for me that would be great. I know
         one other person already has and I won't stop reaching out until
         someone listens to me. My profile never should have been disabled
         for such! I'll continue fighting back.” (LAJOIE’s SECOND SET OF
         DEFAMATORY STATEMENTS)
         9.    Defendant, Aerin Lund (LUND)
   139. On, or about, June 4, 2018 LUND, sometimes using the social media
         identity, “Aerin Wolf Lund”, posted the statement on Facebook,
         including on and in DTD, thus published the statement on Facebook,
         and did so with the intent that many others would read the statement
         and republish the statement to others, “now you have been exposed
         as the predator you are and made yourself an example of WHY MEN
         DO NOT BELONG IN BIRTH” (LUND’s SET OF DEFAMATORY
         STATEMENTS)
         10.   Defendant, Kate Pavlovsky (PAVLOVSKY)
   140. PAVLOVSKY is a competing doula and photographer, that is to say,
         PAVLOVSKY is directly competing with Gallagher and is in the same
         profession and industry as Gallagher.
   141. On, or about, June 3, 2018, PAVLOVSKY posted the statement on
         Facebook, including on and in DTD and Facebook groups that have
         thousands of members and links, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, referencing
         Gallagher throughout the post by referencing PAVLOVSKY’s earlier
         post that identified Gallagher,
   “For those of you who saw my earlier post, I 100% stand by what I said.
   However, I am not the only victim of this predator and I do not feel like
   being singled out. I do not wish for the burden of proof to fall only on me.
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   This person is dangerous and detrimental to the birth realm. Please
   beware.
   Also, victim blaming is not ok. Distrusting victims is not ok. This is creating
   a rift among birthworkers while this predator walks free to cause harm. It’s
   sickening to say the least.
   Thank you to everyone who reached out in support. I love you all very
   much; you are special people.
   Please watch out for a predator infiltrating natural birth groups on social
   media. This is his MO:
   1. He gets permission from the group moderator. Then he posts an intro full
   of heart-rending tales of disadvantage and trauma. This incites sympathy
   from women conditioned to be caring.
   2. Having gained access to the group, he then makes ego-centric and
   grandiose posts. This hooks into the way that women are socialized to
   praise, adulate and stroke the egos of men, and to show humility in the
   face of male bragging.
   3. Around this time, any women in the group with finely tuned radars for
   narcissism, bullshit or perve are likely to call him on a breach of
   confidentiality or some other crossing of basic boundaries. At this point, he
   arcs up defensively way out of proportion to the issue. Then some women
   in the group are likely to rush to his defence and make allowances for him.
   The ones with misgivings then start to doubt themselves and back down a
   little so as not to cause upset within the group.
   4. He is a master at using women’s strengths against them. He gives the
   impression that he is doing everything with the Moderator’s permission. He
   infers that he has special favour and a special connection with the group
   leader, or any woman of prominence and influence. He piggy-backs on the
   trust and credibility that lead woman has with the group by invoking her.
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   Members then feel constrained to complain about him or report him,
   because of their love and loyalty for their LEADER – and they don’t want to
   seem to be questioning her judgement or second-guessing what is
   apparently her call (according to his claims). In this way, he subverts the
   loyalty of women and uses it against them. In one case, he claimed a
   leading midwife in his community was his “mentor”. She wasn’t. In our
   group, he claimed that he was in business with our leader and that she was
   collaborating with him. She wasn’t.
   5. Then he posts polls about whether he should stay in the group or leave.
   This appeals to women’s eagerness to express an opinion and to cast a
   vote. In our culture women are often not consulted, don’t have access to
   forums and are thus under-represented, so this opportunity is highly
   attractive.
   6. He then incites division in the group. He plays the misunderstood,
   misjudged victim and those whose alarm bells are loudly clanging are not
   only depicted by him as mean, judgemental, non-inclusive and sexist – but
   other women, desperate to not be written off by A Man as being a “nasty
   woman” quickly round on the dissenters and tip staggering dump-truck
   loads of internalized misogyny all over them. But this is merely a diversion.
   While he continues to stoke the drama and strife, he’s actually quietly going
   about his real work.
   7. Which is to trawl the group for women who are insecure or unstable in
   terms of their financial security, self-esteem or in need of sexual validation.
   He wins their trust, makes alluring promises and grooms them to provide
   naked photos of themselves, or their underwear, to sell to a select
   audience of men. Guess who is the broker. He is a predatory pimp, no less,
   and he is *not* a doula.
   8. Fall-out from the above subversions are diverse. Some women may feel
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   ashamed that they trusted him, (or that they pretended to trust him for a
   while in order to figure out if he was legit or not). Vulnerable women talk
   about how nice and kind he was to them, not aware that he is grooming
   them. Other women turn on those who express a negative or distrustful
   opinion of him, to the point of screen-shotting their posts and sending them
   to him, seemingly unaware that he has manipulated them into acting as his
   handmaids. He acts gracious in the face of criticism publically, while
   privately attacking those who confront him venomously.
   The point of this post is not only to warn about this individual and others
   like him. It’s so that we can question, and examine, how we as women –
   from the naïve ingénues to the jaded, skeptical crones, can be so easily
   manipulated, exploited and turned on each other. …
   Even if you don’t think he is in the wrong to approach women about getting
   them into sex work.... do you want men out there who would say or do
   these things to lure your daughter into taking nude photos or selling her
   panties?! It’s outrageous. The thing is we all do have proof. It is not yet
   compiled altogether but it won’t be long til it is and everyone can see his
   patterns. It makes me sick knowing there are WOMEN defending him. He
   does not belong in the birth world. This work is not safe if he is able to
   infiltrate our groups this way. He is a master manipulator which is why we
   all have to be together in defending ourselves against him. …”
   (PAVLOVSKY’s FIRST SET OF DEFAMATORY STATEMENTS)
   142. On, or about, June 3, 2018, Hayley Huber made the statement on
         Facebook abut plaintiff, “[t]he comments on his business page from
         women defending him are pretty scary. These doulas are claiming
         that they “know” him because they have spent hours chatting with
         him, talking on the phone, and talking to him on fb groups - but
         they’ve never actually met him. I want to comment so badly and ask
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         them what they’d think if their daughter came to them and told them
         about an amazing guy they met online, and how well they knew him
         because they’d spent hours chatting him up online... the internet is so
         scary. You could download a dating app today and set up 10 dates, I
         guarantee at least 3 of them wouldn’t live up to their online persona -
         and that’s not even the scary side of what you can get away with
         online these days. How these women and specifically doulas who are
         trained to protect a woman’s space are defending him without ever
         having met him in person is baffling to me.”
   143. On, or about, June 3, 2018, in response to the statement made by
         Hayley Huber, PAVLOVSKY posted the statement on Facebook,
         including on and in DTD and Facebook groups that have thousands
         of members and links, thus published the statement on Facebook,
         and did so with the intent that many others would read the statement
         and republish the statement to others, “I love everything about this
         comment here because I have gone through all of these same
         thoughts. Especially the thought of .. what if these women were your
         daughters? Even if you don’t think he is in the wrong to approach
         women about getting them into sex work.... do you want men out
         there who would say or do these things to lure your daughter into
         taking nude photos or selling her panties?! It’s outrageous. The thing
         is we all do have proof. It is not yet compiled altogether but it won’t be
         long til it is and everyone can see his patterns. It makes me sick
         knowing there are WOMEN defending him. He does not belong in the
         birth world. This work is not safe if he is able to infiltrate our groups
         this way. He is a master manipulator which is why we all have to be
         together in defending ourselves against him.” (PAVLOVSKY’s
         SECOND SET OF DEFAMATORY STATEMENTS)
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         11.   Defendant, Channa Jayde Walz (WALZ)
   144. On or about two to five weeks after June 3, 2018 when Jenni Gall
         (GALL) posted a comment on Facebook relating to plaintiff, WALZ
         posted the statement on Facebook, including on and in DTD, thus
         published the statement on Facebook, and did so with the intent that
         many others would read the statement and republish the statement to
         others, “this doula has displayed behaviors that have elicited concern
         from many women due to his own interactions in various spaces.
         …Not all interactions were made in just one post or to one woman.
         And I am pretty sure I know of the woman you refer to and it is not
         just her who had messages refering [sic] to porn sites etc Just
         because one woman initiated the contact doesn't mean others did
         not. …Even if some of these women did initiate messages to him or
         whatever and found him respectful, do you not find it predatory to be
         in birth groups directing vulnerable pregnant women to sex work as a
         man? And to one particular site.... Have you EVER heard of a woman
         doula doing this to multiple women? Honestly. Does that not make
         other women feel objectified by him knowing he does those things
         with other women he met in birthing communities?” (WALZ’s FIRST
         SET OF DEFAMATORY STATEMENTS)
   145. On or about June 3, 2018 WALZ posted the statement on Facebook,
         including on and in DTD, thus published the statement on Facebook,
         and did so with the intent that many others would read the statement
         and republish the statement to others, “BIZARRE, narcissistic and
         Predatory …I am not ashamed of warning women of a predatory
         man. …The screenshots and his own interactions within birth spaces
         say otherwise [i.e., that plaintiff is not a sexual predator] …None of
         the other male doulas I've seen display predatory behavior or are
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         messaging vulnerable women about selling their panties "tactfully" on
         the internet … Defend him all you want. My views based on what I
         have seen him post in groups and based off what other women have
         accounted and shown from him is enough for me to feel it pertinent
         other women know of this. Multiple women have come forward and I
         believe them along with what I've seen for myself.
         I'm basing my opinion off of interactions I quietly sat back and
         observed on various occassions [sic] in different places. His polls and
         post and interactions with women within birthing spaces was bizarre
         and narcissistic at minimum and definitely predatory. In all my years
         of being in birth communities never once have I heard of doula pm
         info on how to get in to sex work by selling panties etc to women in
         financial crisis. A male doing this in predominately female spaces is
         predatory at best. The dismissal of various women's accounts against
         this one man is rather reminiscent of rape victims being silenced for
         speaking out against thier [sic] attackers. I know what I've seen and I
         most certainly believe the various accounts given and screen shotted
         by multiple women. Just because you've had a pleasant experience
         and do not find his behavior this way, does not mean others have not
         experienced otherwise or perceive his actions differently. … He has
         made himself known as a broker in the industry which enticed
         vulnerable women. Yes she reached out to him. Yes she had a
         conversation with him. You can then see how she gets a bit
         standoffish. He even asks if he has overwhelmed her. Ever been
         offered something that you later regret taking? Ever accepted a date,
         go to his home and then decide things maybe went too fast and you
         have second thoughts? Many women have the "nice girl" complex
         and don't know how to shut a man down once they no longer feel
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         comfortable. Sex work is not the issue. The issue is that a MAN has
         targeted vulnerable women within birthing spaces. He is not just
         giving them advice and sending them on their way. He is having them
         send him their content and "building their platform" for them. He has
         also directed multiple women to ONE domain instead of giving
         resources for multiple places to do this. He is objectifying women in
         these spaces. … And again, this is not an isolated incident to just one
         or two women. … The other screen shots etc are not mine to share.
         When those women feel the time is right They will put them out there.
         Not me.” (WALZ’s SECOND SET OF DEFAMATORY
         STATEMENTS)
              12. Defendant, Madison Sisley Boulter (BOULTER)
   146. On, or about, two weeks after the posting of YOUNG’s FOURTH SET
         OF DEFAMATORY STATEMENTS (infra), BOULTER, sometimes
         using the social media identity “Maddie Boulter”, posted the
         statement on Facebook, including on and in DTD, thus published the
         statement on Facebook, and did so with the intent that many others
         would read the statement and republish the statement to others, that
         Gallagher “shared their photos without permission” and then
         published MATWISE’s SET OF DEFAMATORY STATEMENTS on
         Facebook and by doing so adopted, ratified, affirmed and outwardly
         confirmed as true, the false statements in the MATWISE’s SET OF
         DEFAMATORY STATEMENTS. (BOULTER’s FIRST SET OF
         DEFAMATORY STATEMENTS)
   147. In the “Home” section of DTD Facebook page, after Gallagher made
         a positively toned post about his business on May 28, 2018,
         BOULTER made an unsolicited and unrelated defamatory statement
         by posting and thereby publishing the MatternityWise International
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         (MATWISE) “Memorandum of Official Statement” dated 05 June
         2018, attached hereto as Exhibit “1”. (BOULTER’s SECOND SET OF
         DEFAMATORY STATEMENTS)
               13. Defendant, Esme Whritenour (WHRITENOUR)
   148. On, or about, June 4, 2018, WHRITENOUR posted the statement on
         Facebook, thus published the statement on Facebook, including on
         and in DTD, and did so with the intent that many others would read
         the statement and republish the statement to others, “[t]he birth world
         is full of men who believe they're entitled to do what they want with
         women's bodies, in the name of "helping them". Danny takes this to
         the next level by lying about his "tragic past" in order to gain women's
         trust so he can groom them and later exploit them for his profit/sexual
         pleasure . For as many women as have had mundane encounters
         with him, there are 10 more that have been repeatedly violated and
         harassed by him. It truly disgusts me to see someone fetishizing and
         exploiting women in their childbearing year as blatantly as he has.”
         (WHRITENOUR’s SET OF DEFAMATORY STATEMENTS)
   149. Since the WHRITENOUR’s SET OF DEFAMATORY STATEMENTS
         was made in DTD in the “Reviews Page”, and that WHRIITENOUR
         referred to “Danny”, WHRITENOUR’s SET OF DEFAMATORY
         STATEMENTS was of an concerning Gallagher and the thousands of
         persons who viewed WHRITENOUR’s SET OF DEFAMATORY
         STATEMENTS understood WHRITENOUR’s SET OF
         DEFAMATORY STATEMENTS as of and concerning Gallagher.
               14. Defendant, Adrianna Brooks (BROOKS)
   150. On, or about, June 4, 2018, Adrianna Brooks (BROOKS), using the
         identity “Aydree Ahnah”, posted the statement on Facebook, in DTD
         and Facebook groups that have thousands of members and links,
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         thus published the statement on Facebook, and did so with the intent
         that many others would read the statement and republish the
         statement to others, “[d]on't be scammed! This man is not who he
         says he is. He preys on vulnerable pregnant women, and lies to try
         and cover his tracks. He recently used a photo of a mom giving birth
         for his own profit and REFUSED to take down the photo when she
         asked. He wasn't even at her birth! Don't be his next victim!!!”
         (BROOKS’ SET OF DEFAMATORY STATEMENTS)
               15.   Defendant, Nicolette Raymond (RAYMOND)
   151. On, or about, June 4, 2018, RAYMOND posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “[n]ot only does this
         guy have a sick fetish for pregnant women, an
         maternity/breastfeeding photography, [sic] he also shares photos of
         his clients that she has not gotten permission for with random
         women, and most likely others (men, porn sites etc)! He has been
         known to post women’s personal birth pictures on his business page
         without any sort of permission and ignores and blocks whoever tries
         to get the image down. He doesn’t care about women, [sic] he only
         cares about himself and making money by any means necessary,
         even if that means making up stories to get himself ahead. Do not
         trust him.” (RAYMOND’s FRIST SET OF DEFAMATORY
         STATEMENTS)
   152. On, or about, June 4, 2018, RAYMOND posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “Oh fuck anyone
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         who thinks this guy is not a complete predator is part of the problem.”
         (RAYMOND’s SECOND SET OF DEFAMATORY STATEMENTS)
               16. Defendant, Jess Young (YOUNG)
   153. On, or about, June 3, 2018, Chrystal Docker (DOCKER) defended
         Gallagher’s integrity, transparency and high level of professionalism,
         including that MATWISE’s accusations were false and not supported
         by any evidence, in a Facebook post.
   154. On or about, two weeks after DOCKER made the positive statement
         on Facebook about Gallagher and in response to DOCKER made the
         positive statement of Gallagher, YOUNG posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “[m]ost of the
         women coming out against him HAVE dealt with him, have
         screenshots, and people scream ‘liar’ at them because they love
         coddling male feelz. Victim dismissal is nothing new." (YOUNG’s
         FIRST SET OF DEFAMATORY STATEMENTS)
   155. On, or about, June 4, 2018, after WHRITENOUR published
         WHRITENOUR’s SET OF DEFAMATORY STATEMENTS, YOUNG
         posted the reply on Facebook, including on and in DTD, thus
         published the statement on Facebook, and did so with the intent that
         many others would read the statement and republish the statement to
         others, “I knew GraceLynn Willard or Danny would remove her
         female-hating comments, as happened with a male who came on to
         defend Danny, calling women who want to protect other women
         ‘FemiNazis.’ GraceLynn Willard, wishing rape and death on other
         women who you hate - your hate and vile is the very kind of thing
         others are willing to see the truth of in Danny's screen shots of private
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         conversations - he just has enough self-control to sugar-coat it and
         make it look like care and compassion for struggling women. You just
         come right out and wish rape and assault on other women. When the
         website goes up to share all of these complete conversations, your
         name will not be erased from the screen shots. You are a betrayer of
         women. We will still be here for you if you ever are willing to see the
         truth from countless women rather than boot-lick this man who lies
         and deceives the women of birthing communities.” (YOUNG’s
         SECOND SET OF DEFAMATORY STATEMENTS)
   156. On, or about, June 3, 2018, GraceLynn Willard (WILLARD) defended
         Gallagher’s integrity in a Facebook post and encouraged others to
         have Gallagher coach them through childbirth.
   157. On or about two weeks after WILLARD’s defense YOUNG posted the
         statement on Facebook, including on and in DTD, thus published the
         statement on Facebook, and did so with the intent that many others
         would read the statement and republish the statement to others,
         “Danny's story/background of a dead wife/girl friend in a plane
         crash/suicide/death at birth/car accident has connected MANY
         women to him!! Screenshots from many many women of these
         shifting and changing stories - you can choose to pay heed or ignore
         them and be his flying monkey. You have been groomed like so many
         others and there is NO motive in these women to "destroy a man"
         only to SAVE WOMEN. I don't give a crap about destroying anyone,
         only speaking truth to save others.
         His stories of hardship and struggle are a ruse to lure women into
         trusting him and defending him. Narcissists tactics literally never
         change - you have become his flying monkey, and that is also a tale
         as old as time. Like Jenna commented in another review: " Ok even if
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         you don’t believe the handful of women who have come forward
         about him making them feel fetishized, about him taking partially
         nude maternity pics but never actually providing the edited photos
         etc, I disagree with that approach but I guess you can play devil’s
         advocate if you want. But the video he posted to Doula Talk where he
         violated HIPAA over and over again, and then revealed details of a
         domestic violence situation about his “first birth client” right after he
         posted photos of that client- that we all saw and watched with our
         own eyes in real time- this isn’t a conspiracy and you’re neutrality
         here is siding with the oppressor.” (YOUNG’s THIRD SET OF
         DEFAMATORY STATEMENTS)
   158. On, or about, June 4, 2018, YOUNG posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “[t]his man [meaning
         Gallagher] is a predator, luring women into nude photo shoots,
         refusing to return paid-for photographs from session over a year later,
         selling women's nakedness to other males. After he has groomed a
         group of females, he pits them against one another and quietly
         messages individual women he has targeted as financially or
         emotionally struggling, and tries coercing them into sexualized photos
         and videos for his profit. There are screenshot after screenshot of this
         behavior, with multiple women. The only women speaking up for him
         are the ones he has groomed fully and have not been contacted
         about sex work for him, yet. They are victims of his as much as
         anyone else involved. The fact that they are demanding evidence
         beyond what has already been given, shows what a masterful work
         this man has done to keep women from protecting one another in the
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         birthing community. He is a predator - beware.” (YOUNG’s FOURTH
         SET OF DEFAMATORY STATEMENTS)
   159. On or about June 4, 2018, YOUNG posted the statement on and in a
         Facebook group of thousands of members, thus published the
         statement on Facebook, and did so with the intent that many others
         would read the statement and republish the statement to others,
         “Danny the creepy doula (who has in other places, said he should
         start selling pictures I’ve women’s bodies/bottoms in sexual poses
         because he can’t get more money and’ maybe I am in the wrong line
         a business’ – basically, become their pimp) is the talk of several other
         birth groups, and not in a warm, fuzzy way. You’re not alone! … he is
         a predator and I want to make as many females are aware of him as
         possible. … make a public album of these, to start spreading around.
         Maybe these can be shared with a RedFem page that exposes male
         violence and predatory behavior” (YOUNG’s FIFTH SET OF
         DEFAMATORY STATEMENTS)
               17. Defendant, Marie-Soleil Deschamps (DESCHAMPS)
   160. On, or about, June 4, 2018, DESCHAMPS posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “WARNING: Danny
         Gallagher is a predator who has infiltrated the birth world and needs
         to be removed immediately. He has been removed from the big
         groups and the admins of Doula Talk are reporting him to his
         certifying board. He has been caught victimizing women and his
         scheme has been exposed. He trawls birth groups for women who
         are insecure or unstable in terms of their financial security, self
         esteem or in need of sexual validation. He contacts them privately,
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         wins their trust, makes enticing promises, and grooms them to
         provide naked photos of themselves to sell to a select audience of
         men. He's the broker. He is a predatory pimp, he is not a doula. He
         has harassed a number of women online to sell them their used
         panties. This has all been confirmed. This is very serious, he is a
         sexual predator and is dangerous. Please help me in shutting this shit
         down. *this is why men are not allowed in this fucking group.*”
         (DESCHAMPS’ SET OF DEFAMATORY STATEMENTS)
                     18.    Defendant, Julie Bell (BELL)
   161. On, or about, June 3, 2018, Julie Bell (BELL), sometimes using the
         social media identity “Melbourne Doula Birth Support”, posted the
         statement on Facebook, including on and in DTD, thus published the
         statement on Facebook, and did so with the intent that many others
         would read the statement and republish the statement to
         others,“[p]lease watch out for a predator infiltrating natural birth
         groups on social media. This is his MO:
   1. He gets permission from the group moderator. Then he posts an intro full
   of heart-rending tales of disadvantage and trauma. This incites sympathy
   from women conditioned to be caring.
   2. Having gained access to the group, he then makes ego-centric and
   grandiose posts. This hooks into the way that women are socialized to
   praise, adulate and stroke the egos of men, and to show humility in the
   face of male bragging.
   3. Around this time, any women in the group with finely tuned radars for
   narcissism, bullshit or perve are likely to call him on a breach of
   confidentiality or some other crossing of basic boundaries. At this point, he
   arcs up defensively way out of proportion to the issue. Then some women
   in the group are likely to rush to his defence and make allowances for him.
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   The ones with misgivings then start to doubt themselves and back down a
   little so as not to cause upset within the group.
   4. He is a master at using women’s strengths against them. He gives the
   impression that he is doing everything with the Moderator’s permission. He
   infers that he has special favour and a special connection with the group
   leader, or any woman of prominence and influence. He piggy-backs on the
   trust and credibility that lead woman has with the group by invoking her.
   Members then feel constrained to complain about him or report him,
   because of their love and loyalty for their LEADER – and they don’t want to
   seem to be questioning her judgement or second-guessing what is
   apparently her call (according to his claims). In this way, he subverts the
   loyalty of women and uses it against them. In one case, he claimed a
   leading midwife in his community was his “mentor”. She wasn’t. In our
   group, he claimed that he was in business with our leader and that she was
   collaborating with him. She wasn’t.
   5. Then he posts polls about whether he should stay in the group or leave.
   This appeals to women’s eagerness to express an opinion and to cast a
   vote. In our culture women are often not consulted, don’t have access to
   forums and are thus under-represented, so this opportunity is highly
   attractive.
   6. He then incites division in the group. He plays the misunderstood,
   misjudged victim and those whose alarm bells are loudly clanging are not
   only depicted by him as mean, judgemental, non-inclusive and sexist – but
   other women, desperate to not be written off by A Man as being a “nasty
   woman” quickly round on the dissenters and tip staggering dump-truck
   loads of internalized misogyny all over them. But this is merely a diversion.
   While he continues to stoke the drama and strife, he’s actually quietly going
   about his real work.
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   7. Which is to trawl the group for women who are insecure or unstable in
   terms of their financial security, self-esteem or in need of sexual validation.
   He wins their trust, makes alluring promises and grooms them to provide
   naked photos of themselves, or their underwear, to sell to a select
   audience of men. Guess who is the broker. He is a predatory pimp, no less,
   and he is *not* a doula.
   8. Fall-out from the above subversions are diverse. Some women may feel
   ashamed that they trusted him, (or that they pretended to trust him for a
   while in order to figure out if he was legit or not). Vulnerable women talk
   about how nice and kind he was to them, not aware that he is grooming
   them. Other women turn on those who express a negative or distrustful
   opinion of him, to the point of screen-shotting their posts and sending them
   to him, seemingly unaware that he has manipulated them into acting as his
   handmaids. He acts gracious in the face of criticism publically, while
   privately attacking those who confront him venomously.
   The point of this post is not only to warn about this individual and others
   like him. It’s so that we can question, and examine, how we as women –
   from the naïve ingénues to the jaded, skeptical crones, can be so easily
   manipulated, exploited and turned on each other.” (BELL’s FIRST SET OF
   DEFAMATORY STATEMENTS)
   162. On, or about, June 4, 2018, BELL posted the statement on Facebook,
         including on and in DTD and Facebook groups that have thousands
         of members and links, thus published the statement on Facebook,
         and did so with the intent that many others would read the statement
         and republish the statement to others, “DG [referring to plaintiff] is a
         predator. He infiltrates groups, including a business mentoring group I
         am in. He prays on the trusting nature I’ve women and on our anxiety
         to not be accused of being sexist or not inclusive. He arcs up
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         defensively at any one who picks up his narcissism on their radar and
         tries to shut them down and discredit them. … he then sifts the group
         for vulnerable women that he can manipulate and groom. He
         carefully grins his hand-picked victims, then entices them to sell
         naked photos of themselves to a select audience of men. Guess who
         the broker is. He is a trafficker. He makes women who picked up that
         creepy vibes feel guilty so they keep quiet while he prays on the
         vulnerable. He is a ConMan.” (BELL’s SECOND SET OF
         DEFAMATORY STATEMENTS)
                     19.   Defendant, Cara Gwizd (GWIZD)
   163. On, or about, June 18, 2018, Cara Gwizd (GWIZD), sometimes using
         the social media identity “Cara Gwizd”, posted the statement on
         Facebook, including on and in DTD, thus published the statement on
         Facebook, and did so with the intent that many others would read the
         statement and republish the statement to others, “If this individual
         [referring to plaintiff] had wanted to start a business of selling sex
         fetish items or of a pornographic nature then please do not use birth
         groups as a place to promote such business ventures- use other
         spaces.” (GWIZD’s SET OF DEFAMATORY STATEMENTS)
                     20.   Defendant, Holly Leppard-Westhaver
                         (LEPPARD-WESTHAVER)
   164. On, or about, June 5, 2018 LEPPARD-WESTHAVER, sometimes
         using the social media identity “Hollie Michelle”, posted the statement
         on Facebook, including on and in DTD, thus published the statement
         on Facebook, and did so with the intent that many others would read
         the statement and republish the statement to others, “[t]his man is
         NOT a doula.. He is a womanizing predator who prays on vulnerable
         women; sharing their intimate photos without permission, funnelling
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         [sic] them into sex work, and uses lies and manipulation to create a
         persona within the birth world to attract victims...” (LEPPARD-
         WESTHAVER’s SET OF DEFAMATORY STATEMENTS)
                     21.   Defendant, Eloise Victoria (VICTORIA)
   165. On, or about, June 7, 2018 and on a prior occasion within the prior
         thirty days, VICTORIA posted the statement on Facebook, including
         on and in DTD, thus published the statement on Facebook, and did
         so with the intent that many others would read the statement and
         republish the statement to others, “[w]ow - i didnt know reviews could
         be deleted at the whim of the page owner. Is there a point to the star
         rating if it can just be manipulated and undesirable feedback
         eliminated? Well i will share my review again and see how long it
         lasts this time. I continue to be horrified by 'Danny The Doula''s
         appalling conduct on his page and across various doula groups. I
         have seen vast and shocking accounts of harrassment [sic] and
         grooming of vulnerable women. My greatest concern is still 'Danny
         The Doula''s use of Marissa's personal birth photo on his
         page. Marissa commented four times below the photo for it to be
         deleted as she never gave her permission for its use. These
         comments have been removed, however i still have an original photo
         of two of them which i have linked below. Abusing and silencing
         women, especially whilst profiting from them for your so-called doula
         business, is utterly unacceptable and frankly disgusting You may
         delete my review again, but your lack of integrity is catching up with
         you either way. May you learn to truly love and honour [sic] women.”
         (VICTORIA’s SET OF DEFAMATORY STATEMENTS)
                     22.   Defendant, Vivian Chau Best (BEST)


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   166. At all relevant times including 2018 to the present, a Facebook group
         existed and exists, that had and has, thousands of members. The
         Facebook Group WLS PSI Hawaii. Only Facebook users who lived in
         Hawai’i were permitted to be part of the group and thus all persons
         who were members of WLS PSI Hawaii were fully aware that the
         other members of WLS PSI Hawaii were residents of Hawaii.
   167. BEST was a member of WLS PSI Hawaii and BEST sent direct
         messages regarding plaintiff to other members of WLS PSI Hawaii
         warning the other members of WLS PSI Hawaii to not have any
         contract with plaintiff.
   168. On June 3, 2018, BEST warned hundreds of WLS PSI Hawaii
         members, "[i]n case you come across him, please don't accept a
         friend request from Danny Gallagher. I just found out some very
         upsetting information about someone who has many PSI friends in
         common with me. I had to let you know. Warning. Danny Gallagher is
         a predator who has infiltrated the birth world and needs to be
         removed immediately. He has been removed from the big groups and
         the admins of Doula Talk are reporting him to his certifying board. He
         has been caught victimizing women and his scheme has been
         exposed. He trawls birth groups for women who are insecure or
         unstable in terms of their financial security, self esteem or in need of
         sexual validation. He contacts them privately, wins their trust, makes
         enticing promises, and grooms them to provide naked photos of
         themselves to sell to a select audience of men. He's the broker. He is
         a predatory pimp, he is not a doula. He has harassed a number of
         women online to sell them their used panties. This has all been
         confirmed. I see that we have many internet friends in common who
         are PSI grads and wanted you to know. This is very serious, he is a
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         sexual predator and is dangerous. Please help me in shutting this shit
         down.” (BEST’s FIRST SET OF DEFAMATORY STATEMENTS)
   169. On June 3, 2018, BEST began to directly contact plaintiff’s Facebook
         friends as BEST was one of plaintiff Facebook friends and could
         access plaintiff’s friends list. On June 3, 2018, BEST directly
         messaged two of plaintiff’s Facebook friends and two thousand of
         plaintiff’s other friends, "[h]i [Name]! I just found out some very
         upsetting information about one of our mutual friends. I had to let you
         know. Warning. Danny Gallagher is a predator who has infiltrated the
         birth world and needs to be removed immediately . He has been
         removed from the big groups and the admins of Doula Talk are
         reporting him to his certifying board. He has been caught victimizing
         women and his scheme has been exposed. He trawls birth groups for
         women who are insecure or unstable in terms of their financial
         security, self esteem or in need of sexual validation. He contacts
         them privately, wins thei r trust, makes enticing promises, and
         grooms them to provide naked photos of themselves to sell to a
         select audien ce of men. He's the broker. He is a predatory p mp, he
         is not a doula. He has har assed a number of iwomen online to sell
         them their used panties. This has all been confirmed • I see that
         you're internet friends with him and wanted you to know. This is very
         serious, he is a sexual predator and is dangerous. Please help me in
         shutting this shit down.” (BEST’s SECOND SET OF DEFAMATORY
         STATEMENTS)
   170. On the same day, as to a few of plaintiff’s Facebook friends who
         attempted to defend Plaintiff, BEST continued directly messaging
         plaintiff’s Facebook friends with, “[h]e is not a good person. He takes
         advantage of vulnerable women and is highly manipulative. You don't
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         know me, so you don't have to trust my opinion at all. I never met
         him. I just know that he's had some questionable experiences with
         many women and don't like the word on the street about him. I would
         stay away from interacting with him. period. There are great
         photographers out there without awful reviews.” (BEST’s THIRD SET
         OF DEFAMATORY STATEMENTS)
   171. On the same day, as to others who were plaintiff’s Facebook friends
         who attempted to defend Plaintiff, BEST continued directly
         messaging plaintiff’s Facebook friends with "I gave you my honest
         response. I don't know either of you. You don't have to believe me.
         But I urge you to be wary. He gaslights women. Period. I have read a
         conversation between him and a friend on her phone and was
         astounded by how quickly his communications turned mean and ugly.
         It has nothing to do with his photo skills. He works with vulnerable
         women and takes advantage of them. What I saw were screenshots
         of him talking women into taking pornographic photos. He offers
         discounts to vulnerable women, and then tries to get them to take
         naked photos. It's not "empowerment" when he's then turning around
         and selling them to porn site. That has been a strategy that has
         gotten him removed from many pages, and warned about across
         mom groups. It has been a little while, and perhaps he's improved his
         former behavior. I am a stand for women, for mothers, and for sharing
         of useful information. I wouldn't consider working with him based on
         his reputation." (BEST’s FOURTH SET OF DEFAMATORY
         STATEMENTS)
   172. To same set of thousands of plaintiff’s Facebook friends, BEST
         directly messaged them that “I have heard too many stories to want
         to send anyone to work with him. I don’t even live in Hawaii anymore
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         …[plaintiff] was having weird and pornographic conversations with
         others.” (BEST’s FIFTH SET OF DEFAMATORY STATEMENTS)
   173. From April 7, 2019 to through April 17, 2019, BEST made the same
         statements as those set forth in the above paragraphs to plaintiff’s
         Facebook friends by direct message, i.e., BEST’S FIRST SET OF
         DEFAMATORY STATEMENTS through BEST’S FIFTH SET OF
         DEFAMATORY STATEMENTS. (BEST’s SIXTH SET OF
         DEFAMATORY STATEMENTS)
   174. BEST was conspicuously warning residents who she knew lived in
         Hawai’i, i.e., Facebook group members and plaintiff’s Facebook
         friends who lived in Hawaii, and that BEST was safe from plaintiff
         because she no longer lived in Hawai’i and Best was doing some kind
         of service to Hawai’i residents by warning them of plaintiff, who she
         knew as sexual predator who lived among the Hawaiians.
   B.    Innuendo, Inducement and Colloquium
   175. Each of the defamatory statements, i.e., those defined with all capital
         letters described above, falsely accused plaintiff of being deceptive in
         his careers, occupations and professions, including as a doula and a
         photographer.
   176. Each of the defamatory statements, i.e., those defined with all capital
         letters above, falsely accused plaintiff of rape, attempted murder,
         sexual exploitation, prostitution, “pimping” and/or sexual harassment
         which as described in each of the defamatory statements are felonies
         in all jurisdictions in the United States and otherwise serious violent
         offences.
   177. All of the defendants referenced above made the defamatory
         statements, i.e., those defined with all capital letters above, with
         authority, in that Defendants defamatory statements were apparently
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         factually based and any opinion that defendants had were based on
         defendants’ independent verification and having superior knowledge.
   178. Additionally, defendants were fully aware that those persons that
         would read, and did read, Defendants defamatory statements, i.e.,
         those defined with all capital letters above, would regard and consider
         defendants as being in a position of superior knowledge, thus
         creating and manufacturing an umbrella of truth and validity in
         Defendants defamatory statements.
   179. From the history of posts that are accessible to anyone using the
         Internet, and especially those of the thousands of persons, including
         defendants, and each of them, all of whom reviewed the past linked
         and related statements on the Facebook identity, “DannytheDoula”,
         “radfem –exposing” “The Doula Group”, inter alia, t is clear to those
         thousands of persons that the defamatory statements i.e., those
         defined with all capital letters above, that defendants, and each and
         every one of them, were referring to the Facebook posts that began
         on or about June 1, 2017, and those that occurred immediately
         before and after MATWISE’s SET OF DEFAMATORY STATEMENTS
         accusing Gallagher, inter alia, of (1) furthering and promoting
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (2)
         being a sexual predator, acting in a manner that, and thereby,
         violated the ethical and professional practices of doulas and
         photographers and also violated criminal statutes; (3) enticing others
         to participate in pornography because of the possibility of financial
         gain and plaintiff did so in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (4) encouraging pregnant women and others to
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         become involved in selling pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (5) dishonesty in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (6)
         deceiving the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) being unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) dishonesty in his profession
         as photographer in a manner that, and thereby, violated the ethical
         and professional practices of photographers; (9) deception in his
         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) unethical conduct in his
         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers.
   180. Prior to defendants publishing each and any of their defamatory
         statements, i.e., those defined with all capital letters above, the term
         “groomed” was referenced in other Social Media discussion groups
         that any and each of the defendants participated. “Groomed” was
         understood by defendants and the readers of Defendants defamatory
         statements as referring to Gallagher’s “victims” who were the object
         of plaintiff (1) furthering and promoting pornography in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (2) being a sexual predator,
         acting in a manner that, and thereby, violated the ethical and
         professional practices of doulas and photographers and also violated
         criminal statutes; (3) enticing others to participate in pornography
         because of the possibility of financial gain and plaintiff did so in a
         manner that violated the ethical and professional practices adhered to
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         and expected of doulas and photographers; (4) encouraging pregnant
         women and others to become involved in selling pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (5) dishonesty in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceiving the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) being
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8)
         dishonesty in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) deception in his profession as a photographer for
         plaintiff’s sexual gratification, financial gain and self-interest; and (10)
         unethical conduct in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers. That is to say that the term “groomed” was familiar to
         both the defendant making the above described defamatory
         statements and the person reading the term in the defamatory
         statements
   181. Defendants defamatory statements, i.e., those defined with all capital
         letters above, were understood by the thousands of persons who did
         review defendants defamatory statements to mean that it was wrong
         and a factual mistake for any person to discount or disbelieve the
         persons accusing Gallagher, inter alia, of (1) furthering and promoting
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (2)
         being a sexual predator, acting in a manner that, and thereby,
         violated the ethical and professional practices of doulas and
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         photographers and also violated criminal statutes; (3) enticing others
         to participate in pornography because of the possibility of financial
         gain and plaintiff did so in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (4) encouraging pregnant women and others to
         become involved in selling pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (5) dishonesty in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (6)
         deceiving the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) being unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) dishonesty in his profession
         as photographer in a manner that, and thereby, violated the ethical
         and professional practices of photographers; (9) deception in his
         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) unethical conduct in his
         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers, and that the
         accusations were in fact true.
   182. Prior to publishing each and any of the defamatory statements
         alleged above, i.e., those defined with all capital letters above,
         defendants, and each of them, knowingly did absolutely nothing to
         determine, or otherwise verify the truth of the implications of any and
         all of the defamatory statements defendants leveled against
         Gallagher.




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   183. In fact all of the defendants were warned by many persons, that the
         accusations leveled against plaintiff were untrue and to proceed with
         caution in further disseminating the false accusations.
   184. Prior to publishing each and all of the defamatory, i.e., those defined
         with all capital letters above, defendants, and each of them, knew that
         the accusations were false, however still published the defamatory
         statements, and have since continued to publish the defamatory
         statements to other persons, on social media, and directly to each
         and all of defendants’ family, friends, business acquaintances and
         persons and who do not have any prior knowledge of plaintiff, i.e.,
         indiscriminately to whomever will listen, may use the Internet and has
         the ability to read Defendants defamatory statements, which was, and
         is, each and every one of the defendants’ intention.
   185. Prior to publishing the defamatory statements, defendants knew and
         otherwise were fully aware that the defamatory statements were not
         true.
   186. Prior to publishing the defamatory statements, defendants acted in
         reckless disregard for the truth in the defamatory statements by not
         conducting any diligence, inquiry and investigation as to whether or
         not the defamatory statements were true or false.
   187. Prior to publishing the defamatory statements, defendants failed use
         reasonable care to determine the truth or falsity in the defamatory
         statements by not conducting reasonable diligence, inquiry and
         investigation as to whether or not the defamatory statements were
         true or false.
   188. Moreover, by each and every defendant publishing the defamatory
         statements, each and every defendant outwardly ratified, endorsed,
         approved, consented, confirmed and validated the accusations made
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         by MATWISE, that is to say, that Gallagher inter alia, (1) furthered
         and promoted pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (2) was a sexual predator acting in a manner that,
         and thereby, violated the ethical and professional practices of doulas
         and photographers and also violated criminal statutes; (3) enticed
         others to participate in pornography because of the possibility of
         financial gain and plaintiff did so in a manner that violated the ethical
         and professional practices adhered to and expected of doulas and
         photographers; (4) strongly encouraged pregnant women and others
         to become involved in selling pornography in a manner that violated
         the ethical and professional practices adhered to and expected of
         doulas and photographers; (5) was dishonest in his practice as a
         doula for plaintiff’s sexual gratification, financial gain and self-interest;
         (6) deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   189. The context of these defamatory statements of and concerning
         plaintiff is that all, of the defamatory statements were made by each
         and every defendant knowing that the listeners and readers had
         participated in past, or ongoing, discussions concerning plaintiff and
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         that defendants’ defamatory statements were intended by defendants
         to mean and that the listeners and readers would understand, and did
         understand, that plaintiff (1) furthered and promoted pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (2) was a sexual predator
         acting in a manner that, and thereby, violated the ethical and
         professional practices of doulas and photographers and also violated
         criminal statutes; (3) enticed others to participate in pornography
         because of the possibility of financial gain and plaintiff did so in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (4) strongly encouraged
         pregnant women and others to become involved in selling
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (5)
         was dishonest in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (6) deceived the public in
         his practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (7) was unethical in his practice as a doula in a
         manner that, and thereby, violated the ethical and professional
         practices of doulas; (8) was dishonest in his profession as
         photographer in a manner that, and thereby, violated the ethical and
         professional practices of photographers; (9) was deceptive in his
         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) was unethical in his
         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers.
                                      I.CLAIM I
               (Libel against all Defendants and Does 1 through 10)
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   190. Plaintiff incorporates by reference paragraphs 1 through 189 as
         though fully set forth herein.
   191. Defendants made and published the defamatory statements as
         specifically described above and herein,
         (1)MATWISE’s publication of MATWISE’s SET OF DEFAMATORY
           STATEMENTS;
         (2)CROUDACE’s publication of MATWISE’s SET OF DEFAMATORY
           STATEMENTS;
         (3)HOPAKI’s publication of HOPAKI’s FIRST SET OF
           DEFAMATORY STATEMENTS;
         (4)HOPAKI’s publication of HOPAKI’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (5)SALDAYA’S publication of SALDAYA’s FIRST SET OF
           DEFAMATORY STATEMENTS;
         (6)SALDAYA’s publication of SALDAYA’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (7)SALDAYA’s publication of SALDAYA’s THIRD SET OF
           DEFAMATORY STATEMENTS;
         (8)SALDAYA’s publication of SALDAYA’s FOURTH SET OF
           DEFAMATORY STATEMENTS;
         (9)AUGHENBAUGH’s publication of AUGHENBAUGH’s FIRST SET
           OF DEFAMATORY STATEMENTS;
         (10)AUGHENBAUGH’s publication of AUGHENBAUGH’s SECOND
           SET OF DEFAMATORY STATEMENTS;
         (11)AUGHENBAUGH’s publication of AUGHENBAUGH’s THIRD
           SET OF DEFAMATORY STATEMENTS;
         (12)CHIDESTER’s publication of CHIDESTER’s FIRST SET OF
           DEFAMATORY STATEMENTS;
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         (13)CHIDESTER’s publication of CHIDESTER’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (14)BYERS’ publication of BYERS’ FIRST SET OF DEFAMATORY
           STATEMENTS;
         (15)BYERS’ publication of BYERS’ SECOND SET OF
           DEFAMATORY STATEMENTS;
         (16)KIRILLOV’s publication of KIRILLOV’s SET OF DEFAMATORY
           STATEMENTS;
         (17)LAJOIE’s publication of LAJOIE’s FIRST SET OF DEFAMATORY
           STATEMENTS;
         (18)LAJOIE’s publication of LAJOIE’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (19)LUND’s publication of LUND’s SET OF DEFAMATORY
           STATEMENTS;
         (20)PAVLOVSKY’s publication of PAVLOVSKY’s FIRST SET OF
           DEFAMATORY STATEMENTS;
         (21)PAVLOVSKY’s publication of PAVLOVSKY’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (22)WALZ’s publication of WALZ’s FIRST SET OF DEFAMATORY
           STATEMENTS;
         (23)WALZ’s publication of WALZ’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (24)BOULTER’s publication of BOULTER’s FIRST SET OF
           DEFAMATORY STATEMENTS;
         (25)BOULTER’s publication of BOULTER’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (26)WHRITENOUR’s publication of WHRITENOUR’s SET OF
           DEFAMATORY STATEMENTS;
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         (27)BROOKS’ publication of BROOKS’ SET OF DEFAMATORY
           STATEMENTS;
         (28)RAYMOND’s publication of RAYMOND’s FRIST SET OF
           DEFAMATORY STATEMENTS;
         (29)RAYMOND’s publication of RAYMOND’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (30)YOUNG’s publication of YOUNG’s FIRST SET OF
           DEFAMATORY STATEMENTS;
         (31)YOUNG’s publication of YOUNG’s SECOND SET OF
           DEFAMATORY STATEMENTS;
         (32)YOUNG’s publication of YOUNG’s THIRD SET OF
           DEFAMATORY STATEMENTS;
         (33)YOUNG’s publication of YOUNG’s FOURTH SET OF
           DEFAMATORY STATEMENTS;
         (34)YOUNG’s publication of YOUNG’s FIFTH SET OF
           DEFAMATORY STATEMENTS;
         (35)DESCHAMPS’ publication of DESCHAMPS’ SET OF
           DEFAMATORY STATEMENTS;
         (36)BELL’s publication of BELL’s FIRST SET OF DEFAMATORY
           STATEMENTS;
         (37)BELL’s publication of BELL’s SECOND SET OF DEFAMATORY
           STATEMENTS;
         (38)GWIZD’s publication of GWIZD’s SET OF DEFAMATORY
           STATEMENTS;
         (39)LEPPARD-WESTHAVER’s publication of LEPPARD-
           WESTHAVER’s SET OF DEFAMATORY STATEMENTS;
         (40)VICTORIA’s publication of VICTORIA’s SET OF DEFAMATORY
           STATEMENTS.
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         (41)BEST’s publication of BEST’s FIRST SET OF DEFAMATORY
           STATEMENTS;
         (42)BEST’s publication of BEST’s SECOND SET OF DEFAMATORY
           STATEMENTS;
         (43)BEST’s publication of BEST’s THIRD SET OF DEFAMATORY
           STATEMENTS;
         (44)BEST’s publication of BEST’s FOURTH SET OF DEFAMATORY
           STATEMENTS;
         (45)BEST’s publication of BEST’s FIFTH SET OF DEFAMATORY
           STATEMENTS;
         (46)BEST’s publication of BEST’s SIXTH SET OF DEFAMATORY
           STATEMENTS;
   192. All defendants used at least Facebook, including on and in DTD and
         MIM, to write, and thereby publish, the defamatory statements
         described above and incorporated by reference herein, which
         included, that plaintiff (1) furthered and promoted pornography in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (2) was a sexual predator
         acting in a manner that, and thereby, violated the ethical and
         professional practices of doulas and photographers and also violated
         criminal statutes; (3) enticed others to participate in pornography
         because of the possibility of financial gain and plaintiff did so in a
         manner that violated the ethical and professional practices adhered to
         and expected of doulas and photographers; (4) strongly encouraged
         pregnant women and others to become involved in selling
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (5)
         was dishonest in his practice as a doula for plaintiff’s sexual
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         gratification, financial gain and self-interest; (6) deceived the public in
         his practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (7) was unethical in his practice as a doula in a
         manner that, and thereby, violated the ethical and professional
         practices of doulas; (8) was dishonest in his profession as
         photographer in a manner that, and thereby, violated the ethical and
         professional practices of photographers; (9) was deceptive in his
         profession as a photographer for plaintiff’s sexual gratification,
         financial gain and self-interest; and (10) was unethical in his
         profession as a photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers.
   193. All defendants did use other social media websites to write, and
         thereby publish, the defamatory statements described above and
         incorporated by reference herein.
   194. Prior to publishing their defamatory statements, all defendants were
         fully aware that Facebook and the other social media websites used
         to publish defendants’ defamatory statements described above and
         incorporated by reference herein had members and subscribers
         located worldwide.
   195. Prior to publishing their defamatory statements, all defendants were
         fully aware that Facebook had a membership of approximately two
         billion persons and that by publishing their defamatory statements,
         the defamatory statements would be read by hundreds to thousands
         of Facebook’s membership.
   196. Prior to publishing their defamatory statements, all defendants were
         fully aware that publishing the defamatory statements described
         above and incorporated by reference herein would reach the eyes
         and ears of at least hundreds to thousands of persons, and that after
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         defendants did publish the defamatory statements described above
         and incorporated by reference herein that the published defamatory
         statements did reach the eyes and ears of at least hundreds to
         thousands of persons.
   197. All defendants published the defamatory statements described above
         and incorporated by reference herein fully aware that plaintiff lived in
         Hawai’i and that plaintiff was a professionally practicing doula and
         photographer in the state of Hawai’i.
   198. All defendants were fully aware that Defendants defamatory
         statements described above and incorporated by reference herein
         would cause a negative effect on plaintiff professionally practicing as
         a doula and photographer, i.e., defendants intended that their
         defamatory statements would prevent plaintiff from professionally
         practicing as a doula and photographer. In addition, defendants were
         fully aware that because of their defamatory statements, plaintiff’s
         reputation would be damaged in the community in Hawai’i and the
         virtual community located in the world-wide-web.
   199. It was, is, and has always been, untrue, and false, that plaintiff 1)
         furthered and promoted pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) was a sexual predator acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
         enticed others to participate in pornography because of the possibility
         of financial gain and plaintiff did so in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (4) strongly encouraged pregnant women and
         others to become involved in selling pornography in a manner that
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         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (5) was dishonest in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceived the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) was
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8) was
         dishonest in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) was deceptive in his profession as a photographer
         for plaintiff’s sexual gratification, financial gain and self-interest; and
         (10) was unethical in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers.
   200. Defendants’ defamatory statements were not privileged and plaintiff
         did not consent to the publication of the defamatory statements.
         Plaintiff, in fact, implored defendants to stop the publication of the
         defamatory statements.
   201. Prior to publishing the defamatory statements, defendants knew and
         otherwise were fully aware that the defamatory statements were not
         true.
   202. Prior to publishing the defamatory statements, defendants acted in
         reckless disregard for the truth in the defamatory statements by not
         conducting any diligence, inquiry and investigation as to whether or
         not the defamatory statements were true or false.
   203. Prior to publishing the defamatory statements, defendants failed use
         reasonable care to determine the truth or falsity in the defamatory
         statements by not conducting reasonable diligence, inquiry and
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         investigation as to whether or not the defamatory statements were
         true or false.
   204. The hundreds to thousands of person who did read defendants’
         defamatory statements on Facebook and other social media websites
         understood that the defamatory statements to be of and concerning
         plaintiff and were understood by the hundreds to thousands of
         persons to mean that plaintiff (1) furthered and promoted
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (2)
         was a sexual predator acting in a manner that, and thereby, violated
         the ethical and professional practices of doulas and photographers
         and also violated criminal statutes; (3) enticed others to participate in
         pornography because of the possibility of financial gain and plaintiff
         did so in a manner that violated the ethical and professional practices
         adhered to and expected of doulas and photographers; (4) strongly
         encouraged pregnant women and others to become involved in
         selling pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (5) was dishonest in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (6)
         deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
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         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   205. Because of the facts and circumstances that were known to the
         hundreds to thousands of readers of the defamatory statements,
         including that plaintiff was a professionally practicing doula and
         photographer in Hawai’i,
         (1)The defamatory statements tended to injure plaintiff in his
           occupations as a doula and photographer, and otherwise injure
           plaintiff whether or not plaintiff was a doula or photographer;
         (2)The defamatory statements exposed plaintiff to hatred, contempt,
           ridicule, and shame by (1) persons residing in Hawai’i; (2) persons
           involved and interested in the doula community and matters
           concerning doula; (3) persons who were involved and interested in
           photography; and (4) those persons using the world-wide-web
           interested in plaintiff, doulas and/or photography; and
         (3)The defamatory statements discouraged others from associating
           or dealing with plaintiff.
   206. Defendants knew that the listeners and readers of the defamatory
         statements would be compelled to republish the defamatory
         statements to others by word of mouth, electronic communication and
         through social media websites and the persons who did hear and did
         read the defamatory statements did republish the defamatory
         statements to others.
   207. Defendants’ defamatory statements caused plaintiff to lose
         employment and income.
   208. Defendants’ defamatory statements caused plaintiff’s Hawaiian and
         virtual community to shun him, avoid him and hate him and further
         caused plaintiff’s Hawaiian and virtual community to stop being his
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         friend, stop following him, or otherwise end any, and all, connection
         and association to plaintiff.
   209. Plaintiff’s personal and professional reputation was harmed as a
         result of defendants’ defamatory statements and such reputation is
         continuing to be harmed because defendants continue to make the
         same defamatory statements as described and continue to permit the
         defamatory statements to go viral on social media websites.
   210. Plaintiff sustained reputational and financial harm to his businesses,
         professions and occupations as a result of the defamatory
         statements.
   211. Plaintiff was damaged as set forth below and as follows,
         WHEREFORE plaintiff prays that this court grant relief in
   compensatory damages against each defendant and in favor of plaintiff in
   the amount of $5,000.000.00, for an order retracting and correcting the
   defamatory statements, for equitable relief based on principles that are fair
   and just, and for judgment as also set forth below.
                                     II.CLAIM II
           (Libel Per Se against all defendants and Does 1 through 10)
   212. Plaintiff incorporates by reference paragraphs 1 through 211 as
         though fully set forth herein.
   213. Defendants made and published the defamatory statements as
         specifically described above, which among other things falsely
         accused plaintiff of committing a crime that was a felony.
   214. All defendants used at least Facebook to write, and thereby publish,
         the defamatory statements described above and incorporated by
         reference herein, which included, that plaintiff (1) furthered and
         promoted pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
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         photographers; (2) was a sexual predator acting in a manner that,
         and thereby, violated the ethical and professional practices of doulas
         and photographers and also violated criminal statutes; (3) enticed
         others to participate in pornography because of the possibility of
         financial gain and plaintiff did so in a manner that violated the ethical
         and professional practices adhered to and expected of doulas and
         photographers; (4) strongly encouraged pregnant women and others
         to become involved in selling pornography in a manner that violated
         the ethical and professional practices adhered to and expected of
         doulas and photographers; (5) was dishonest in his practice as a
         doula for plaintiff’s sexual gratification, financial gain and self-interest;
         (6) deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   215. All defendants did use other social media websites to write, and
         thereby publish, the defamatory statements described above and
         incorporated by reference herein.
   216. Prior to publishing their defamatory statements, all defendants were
         fully aware that Facebook and the other social media websites used
         to publish defendants’ defamatory statements described above and
         incorporated by reference herein had members and subscribers
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         located worldwide.
   217. Prior to publishing their defamatory statements, all defendants were
         fully aware that Facebook had a membership of approximately two
         billion persons and that by publishing their defamatory statements,
         the defamatory statements would be read by hundreds to thousands
         of Facebook’s membership.
   218. Prior to publishing their defamatory statements, all defendants were
         fully aware that publishing the defamatory statements described
         above and incorporated by reference herein would reach the eyes
         and ears of at least hundreds to thousands of persons, and that after
         defendants did publish the defamatory statements described above
         and incorporated by reference herein that the published defamatory
         statements did reach the eyes and ears of at least hundreds to
         thousands of persons.
   219. All defendants published the defamatory statements described above
         and incorporated by reference herein fully aware that plaintiff lived in
         Hawai’i and that plaintiff was a professionally practicing doula and
         photographer in the state of Hawai’i.
   220. All defendants were fully aware that Defendants defamatory
         statements described above and incorporated by reference herein
         would cause a negative effect on plaintiff professionally practicing as
         a doula and photographer, i.e., defendants intended that their
         defamatory statements would prevent plaintiff from professionally
         practicing as a doula and photographer. In addition, defendants were
         fully aware that because of their defamatory statements, plaintiff’s
         reputation would be damaged in the community in Hawai’i and the
         virtual community located in the world-wide-web.
   221. It was, is, and has always been, untrue, and false, that plaintiff 1)
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         furthered and promoted pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) was a sexual predator acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
         enticed others to participate in pornography because of the possibility
         of financial gain and plaintiff did so in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (4) strongly encouraged pregnant women and
         others to become involved in selling pornography in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (5) was dishonest in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceived the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) was
         unethical in his practice as a doula in a manner that, and thereby,
         violated the ethical and professional practices of doulas; (8) was
         dishonest in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) was deceptive in his profession as a photographer
         for plaintiff’s sexual gratification, financial gain and self-interest; and
         (10) was unethical in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers.
   222. Defendants’ defamatory statements were not privileged and plaintiff
         did not consent to the publication of the defamatory statements.
         Plaintiff, in fact, implored defendants to stop the publication of the
         defamatory statements.
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   223. Prior to publishing the defamatory statements, defendants knew and
         otherwise were fully aware that the defamatory statements were not
         true.
   224. Prior to publishing the defamatory statements, defendants acted in
         reckless disregard for the truth in the defamatory statements by not
         conducting any diligence, inquiry and investigation as to whether or
         not the defamatory statements were true or false.
   225. Prior to publishing the defamatory statements, defendants failed use
         reasonable care to determine the truth or falsity in the defamatory
         statements by not conducting reasonable diligence, inquiry and
         investigation as to whether or not the defamatory statements were
         true or false.
   226. The hundreds to thousands of person who did read defendants’
         defamatory statements on Facebook and other social media websites
         understood that the defamatory statements to be of and concerning
         plaintiff and were understood by the hundreds to thousands of
         persons to mean that plaintiff (1) furthered and promoted
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (2)
         was a sexual predator acting in a manner that, and thereby, violated
         the ethical and professional practices of doulas and photographers
         and also violated criminal statutes; (3) enticed others to participate in
         pornography because of the possibility of financial gain and plaintiff
         did so in a manner that violated the ethical and professional practices
         adhered to and expected of doulas and photographers; (4) strongly
         encouraged pregnant women and others to become involved in
         selling pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
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         photographers; (5) was dishonest in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (6)
         deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   227. Because of the facts and circumstances that were known to the
         hundreds to thousands of readers of the defamatory statements,
         including that plaintiff was a professionally practicing doula and
         photographer in Hawai’i,
         (1)The defamatory statements tended to injure plaintiff in his
           occupations as a doula and photographer, and otherwise injure
           plaintiff whether or not plaintiff was a doula or photographer;
         (2)The defamatory statements exposed plaintiff to hatred, contempt,
           ridicule, and shame by (1) persons residing in Hawai’i; (2) persons
           involved and interested in the doula community and matters
           concerning doula; (3) persons who were involved and interested in
           photography; and (4) those persons using the world-wide-web
           interested in plaintiff, doulas and/or photography; and
         (3)The defamatory statements discouraged others from associating
           or dealing with plaintiff.
   228. Defendants knew that the listeners and readers of the defamatory
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         statements would be compelled to republish the defamatory
         statements to others by word of mouth, electronic communication and
         through social media websites and the persons who did hear and did
         read the defamatory statements did republish the defamatory
         statements to others.
   229. Defendants’ defamatory statements caused plaintiff to lose
         employment and income.
   230. Defendants’ defamatory statements caused plaintiff’s Hawaiian and
         virtual community to shun him, avoid him and hate him and further
         caused plaintiff’s Hawaiian and virtual community to stop being his
         friend, stop following him, or otherwise end any, and all, connection
         and association to plaintiff.
   231. Plaintiff’s personal and professional reputation was harmed as a
         result of defendants’ defamatory statements and such reputation is
         continuing to be harmed because defendants continue to make the
         same defamatory statements as described and continue to permit the
         defamatory statements to go viral on social media websites.
   232. Plaintiff sustained reputational and financial harm to his businesses,
         professions and occupations as a result of the defamatory
         statements.
   233. Plaintiff was damaged as set forth below and as follows,
         WHEREFORE plaintiff prays that this court grant relief in
   compensatory damages against each defendant and in favor of plaintiff in
   the amount of $5,000.000.00, for an order retracting and correcting the
   defamatory statements, for equitable relief based on principles that are fair
   and just, and for judgment as also set forth below.
                                     III.CLAIM III
           (Trade Libel against all defendants and Does 1 through 10)
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   234. Plaintiff incorporates by reference paragraphs 1 through 233 as
         though fully set forth herein.
   235. Defendants made and published the defamatory statements as
         specifically described above, which among other things falsely
         accused plaintiff of committing rendering unprofessional and
         substandard services as a doula and photographer using the services
         to violated plaintiff’s clients’ rights.
   236. All defendants used at least Facebook to write, and thereby publish,
         the defamatory statements described above and incorporated by
         reference herein, which included, that plaintiff (1) furthered and
         promoted pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (2) was a sexual predator acting in a manner that,
         and thereby, violated the ethical and professional practices of doulas
         and photographers and also violated criminal statutes; (3) enticed
         others to participate in pornography because of the possibility of
         financial gain and plaintiff did so in a manner that violated the ethical
         and professional practices adhered to and expected of doulas and
         photographers; (4) strongly encouraged pregnant women and others
         to become involved in selling pornography in a manner that violated
         the ethical and professional practices adhered to and expected of
         doulas and photographers; (5) was dishonest in his practice as a
         doula for plaintiff’s sexual gratification, financial gain and self-interest;
         (6) deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
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         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   237. All defendants did use other social media websites to write, and
         thereby publish, the defamatory statements described above and
         incorporated by reference herein.
   238. Prior to publishing their defamatory statements, all defendants were
         fully aware that Facebook and the other social media websites used
         to publish defendants’ defamatory statements described above and
         incorporated by reference herein had members and subscribers
         located worldwide.
   239. Prior to publishing their defamatory statements, all defendants were
         fully aware that Facebook had a membership of approximately two
         billion persons and that by publishing their defamatory statements,
         the defamatory statements would be read by hundreds to thousands
         of Facebook’s membership.
   240. Prior to publishing their defamatory statements, all defendants were
         fully aware that publishing the defamatory statements described
         above and incorporated by reference herein would reach the eyes
         and ears of at least hundreds to thousands of persons, and that after
         defendants did publish the defamatory statements described above
         and incorporated by reference herein that the published defamatory
         statements did reach the eyes and ears of at least hundreds to
         thousands of persons.
   241. All defendants published the defamatory statements described above
         and incorporated by reference herein fully aware that plaintiff lived in
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         Hawai’i and that plaintiff was a professionally practicing doula and
         photographer in the state of Hawai’i.
   242. All defendants were fully aware that Defendants defamatory
         statements described above and incorporated by reference herein
         would cause a negative effect on plaintiff professionally practicing as
         a doula and photographer, i.e., defendants intended that their
         defamatory statements would prevent plaintiff from professionally
         practicing as a doula and photographer. In addition, defendants were
         fully aware that because of their defamatory statements, plaintiff’s
         reputation would be damaged in the community in Hawai’i and the
         virtual community located in the world-wide-web.
   243. It was, is, and has always been, untrue, and false, that plaintiff (1)
         furthered and promoted pornography in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (2) was a sexual predator acting in a manner
         that, and thereby, violated the ethical and professional practices of
         doulas and photographers and also violated criminal statutes; (3)
         enticed others to participate in pornography because of the possibility
         of financial gain and plaintiff did so in a manner that violated the
         ethical and professional practices adhered to and expected of doulas
         and photographers; (4) strongly encouraged pregnant women and
         others to become involved in selling pornography in a manner that
         violated the ethical and professional practices adhered to and
         expected of doulas and photographers; (5) was dishonest in his
         practice as a doula for plaintiff’s sexual gratification, financial gain
         and self-interest; (6) deceived the public in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (7) was
         unethical in his practice as a doula in a manner that, and thereby,
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         violated the ethical and professional practices of doulas; (8) was
         dishonest in his profession as photographer in a manner that, and
         thereby, violated the ethical and professional practices of
         photographers; (9) was deceptive in his profession as a photographer
         for plaintiff’s sexual gratification, financial gain and self-interest; and
         (10) was unethical in his profession as a photographer in a manner
         that, and thereby, violated the ethical and professional practices of
         photographers.
   244. Defendants’ defamatory statements were not privileged and plaintiff
         did not consent to the publication of the defamatory statements.
         Plaintiff, in fact, implored defendants to stop the publication of the
         defamatory statements.
   245. Prior to publishing the defamatory statements, defendants knew and
         otherwise were fully aware that the defamatory statements were not
         true.
   246. Prior to publishing the defamatory statements, defendants acted in
         reckless disregard for the truth in the defamatory statements by not
         conducting any diligence, inquiry and investigation as to whether or
         not the defamatory statements were true or false.
   247. Prior to publishing the defamatory statements, defendants failed use
         reasonable care to determine the truth or falsity in the defamatory
         statements by not conducting reasonable diligence, inquiry and
         investigation as to whether or not the defamatory statements were
         true or false.
   248. The hundreds to thousands of person who did read defendants’
         defamatory statements on Facebook and other social media websites
         understood that the defamatory statements to be of and concerning
         plaintiff and were understood by the hundreds to thousands of
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         persons to mean that plaintiff (1) furthered and promoted
         pornography in a manner that violated the ethical and professional
         practices adhered to and expected of doulas and photographers; (2)
         was a sexual predator acting in a manner that, and thereby, violated
         the ethical and professional practices of doulas and photographers
         and also violated criminal statutes; (3) enticed others to participate in
         pornography because of the possibility of financial gain and plaintiff
         did so in a manner that violated the ethical and professional practices
         adhered to and expected of doulas and photographers; (4) strongly
         encouraged pregnant women and others to become involved in
         selling pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (5) was dishonest in his practice as a doula for
         plaintiff’s sexual gratification, financial gain and self-interest; (6)
         deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   249. Because of the facts and circumstances that were known to the
         hundreds to thousands of readers of the defamatory statements,
         including that plaintiff was a professionally practicing doula and
         photographer in Hawai’i,
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         (1)The defamatory statements tended to injure plaintiff in his
           occupations as a doula and photographer, and otherwise injure
           plaintiff whether or not plaintiff was a doula or photographer;
         (2)The defamatory statements exposed plaintiff to hatred, contempt,
           ridicule, and shame by (1) persons residing in Hawai’i; (2) persons
           involved and interested in the doula community and matters
           concerning doula; (3) persons who were involved and interested in
           photography; and (4) those persons using the world-wide-web
           interested in plaintiff, doulas and/or photography; and
         (3)The defamatory statements discouraged others from associating
           or dealing with plaintiff.
   250. Defendants knew that the listeners and readers of the defamatory
         statements would be compelled to republish the defamatory
         statements to others by word of mouth, electronic communication and
         through social media websites and the persons who did hear and did
         read the defamatory statements did republish the defamatory
         statements to others.
   251. Defendants’ defamatory statements caused plaintiff to lose
         employment and income.
   252. Defendants’ defamatory statements caused plaintiff’s Hawaiian and
         virtual community to shun him, avoid him and hate him and further
         caused plaintiff’s Hawaiian and virtual community to stop being his
         friend, stop following him, or otherwise end any, and all, connection
         and association to plaintiff.
   253. Defendants knew that their defamatory statements would cause
         plaintiff’s potential clients, clients, and other persons involved in the
         professional doula and professional photography community, would
         rely on the defendants’ defamatory statements and cause financial
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         loss to plaintiff.
   254. Plaintiff sustained harm to his businesses, professions and
         occupations as a result of the defamatory statements.
   255. Plaintiff sustained financial harm because plaintiff’s potential clients,
         clients, and other persons involved in the professional doula and
         professional photography community, did rely on defendants’
         defamatory statements.
   256. In reliance on defendants’ defamatory statements, plaintiff’s potential
         clients, clients, and other persons involved in the professional doula
         and professional photography community did shun and disassociate
         themselves from plaintiff that was a substantial factor in plaintiff’s
         financial harm.
   257. Plaintiff was damaged as set forth below and as follows,
         WHEREFORE plaintiff prays that this court grant relief in
   compensatory damages against each defendant and in favor of plaintiff in
   the amount of $5,000.000.00, for an order retracting and correcting the
   defamatory statements, for equitable relief based on principles that are fair
   and just, and for judgment as also set forth below.
                                       IV.CLAIM IV
            (False Light against all defendants and Does 1 through 10)
   258. Plaintiff incorporates by reference paragraphs 1 through 257 as
         though fully set forth herein.
   259. Defendants published the defamatory statements as specifically
         described above and incorporated herein and the statements showed
         plaintiff in a false light.
   260. The false light was highly offensive to a reasonable person in
         plaintiff’s position.
   261. Defendants knew that the publication of the defamatory statements
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         would create a false impression that plaintiff, (1) furthered and
         promoted pornography in a manner that violated the ethical and
         professional practices adhered to and expected of doulas and
         photographers; (2) was a sexual predator acting in a manner that,
         and thereby, violated the ethical and professional practices of doulas
         and photographers and also violated criminal statutes; (3) enticed
         others to participate in pornography because of the possibility of
         financial gain and plaintiff did so in a manner that violated the ethical
         and professional practices adhered to and expected of doulas and
         photographers; (4) strongly encouraged pregnant women and others
         to become involved in selling pornography in a manner that violated
         the ethical and professional practices adhered to and expected of
         doulas and photographers; (5) was dishonest in his practice as a
         doula for plaintiff’s sexual gratification, financial gain and self-interest;
         (6) deceived the public in his practice as a doula for plaintiff’s sexual
         gratification, financial gain and self-interest; (7) was unethical in his
         practice as a doula in a manner that, and thereby, violated the ethical
         and professional practices of doulas; (8) was dishonest in his
         profession as photographer in a manner that, and thereby, violated
         the ethical and professional practices of photographers; (9) was
         deceptive in his profession as a photographer for plaintiff’s sexual
         gratification, financial gain and self-interest; and (10) was unethical in
         his profession as a photographer in a manner that, and thereby,
         violated the ethical and professional practices of photographers.
   262. Defendants’ defamatory statements were not privileged and plaintiff
         did not consent to the publication of the defamatory statements.
         Plaintiff, in fact, implored defendants to stop the publication of the
         defamatory statements.
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   263. Prior to publishing the defamatory statements, defendants knew that
         publishing the defamatory statements would create a false
         impression about plaintiff.
   264. Prior to publishing the defamatory statements, defendants acted in
         reckless disregard for the truth in the defamatory statements by not
         conducting any diligence, inquiry and investigation as to whether or
         not the defamatory statements were true or false.
   265. Prior to publishing the defamatory statements, defendants failed use
         reasonable care to determine the truth or falsity in the defamatory
         statements by not conducting reasonable diligence, inquiry and
         investigation as to whether or not the defamatory statements were
         true or false.
   266. Plaintiff sustained reputational and financial harm as result of
         defendants’ publication of the defamatory statements.
         WHEREFORE plaintiff requests that this court grant relief in
   compensatory damages against each defendant and in favor of plaintiff in
   the amount of $5,000.000.00, for an order retracting and correcting the
   defamatory statements and any equitable relief based on principles that are
   fair and just.
                                       V.CLAIM V
   (Intentional Infliction of Emotional Distress against all defendants and Does
                                    1 through 10)
   267. Plaintiff incorporates by reference paragraphs 1 through 266 as
         though fully set forth herein.
   268. Defendants published the defamatory statements as specifically
         described above and incorporated herein.
   269. Defendants’ conduct was outrageous.
   270. Defendants’ conduct was intended by each of the defendants, or
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     carried out in reckless disregard, to cause plaintiff emotional distress.
271. Plaintiff suffered severe emotional distress.
272. Defendants’ conduct was a substantial factor in causing plaintiff’s
     emotional distress.
273. WHEREFORE plaintiff prays that this court grant relief in
     compensatory damages against each defendant and in favor of
     plaintiff in the amount of $5,000.000.00, for an order retracting and
     correcting the defamatory statements, for equitable relief based on
     principles that are fair and just, and for judgment as also set forth
     below.
                                 VI.CLAIM VI
(Negligent Infliction of Emotional Distress against all defendants and Does
                                1 through 10)
274. Plaintiff incorporates by reference paragraphs 1 through 273 as
     though fully set forth herein.
275. Defendants published the defamatory statements as specifically
     described above and incorporated herein.
276. Prior to publishing the defamatory statements, defendants failed use
     reasonable care to determine the truth or falsity in the defamatory
     statements by not conducting reasonable diligence, inquiry and
     investigation as to whether or not the defamatory statements were
     true or false.
277. Defendants were negligent.
278. Plaintiff suffered severe emotional distress.
279. Defendants’ negligent conduct was a substantial factor in causing
     plaintiff’s emotional distress.
     WHEREFORE plaintiff prays that this court grant relief in
compensatory damages against each defendant and in favor of plaintiff in
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the amount of $5,000.000.00, for an order retracting and correcting the
defamatory statements, for equitable relief based on principles that are fair
and just, and for judgment as also set forth below.
                                VII.CLAIM VII
      (Injunctive Relief - against all defendants and Does 1 through 10)
280. Plaintiff incorporates by reference paragraphs 1 through 279 as
      though fully set forth herein.
281. Defendants have caused irreparable harm to plaintiff’s businesses, in
      reputation, in income, in the goodwill in the businesses that no
      amount of damages could adequately compensate plaintiff for injuries
      he sustained, is sustaining and will sustain, because defendants
      defamatory statements continue to be posted on internet websites
      such as Facebook, and defendants continue to assert that the
      statements are true thereby destroying plaintiff’s reputation and
      business in an ongoing and continuous manner.
282. Defendants continue to publish the defamatory statements on social
      media making it impossible for plaintiff to practice as a doula and a
      professional photographer and thus limiting plaintiff’s income, making
      the harm ongoing.
283. Defendants’ conduct is a substantial factor in plaintiff’s ongoing harm.
284. Plaintiff prays this court for an order enjoining defendants, and each
      of them, from making and publishing any, and all, defamatory
      statements that accuse plaintiff of (1) furthering and promoting
      pornography in a manner that violated the ethical and professional
      practices adhered to and expected of doulas and photographers; (2)
      being a sexual predator, acting in a manner that, and thereby,
      violated the ethical and professional practices of doulas and
      photographers and also violated criminal statutes; (3) enticing others
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      to participate in pornography because of the possibility of financial
      gain and plaintiff did so in a manner that violated the ethical and
      professional practices adhered to and expected of doulas and
      photographers; (4) encouraging pregnant women and others to
      become involved in selling pornography in a manner that violated the
      ethical and professional practices adhered to and expected of doulas
      and photographers; (5) dishonesty in his practice as a doula for
      plaintiff’s sexual gratification, financial gain and self-interest; (6)
      deceiving the public in his practice as a doula for plaintiff’s sexual
      gratification, financial gain and self-interest; (7) being unethical in his
      practice as a doula in a manner that, and thereby, violated the ethical
      and professional practices of doulas; (8) dishonesty in his profession
      as photographer in a manner that, and thereby, violated the ethical
      and professional practices of photographers; (9) deception in his
      profession as a photographer for plaintiff’s sexual gratification,
      financial gain and self-interest; and (10) unethical conduct in his
      profession as a photographer in a manner that, and thereby, violated
      the ethical and professional practices of photographers.
285. Plaintiff prays this court for an injunction ordering defendants, and
      each of them, to retract the defamatory statements and to take the
      defamatory statements down from the websites in which the
      statements were made and published, specifically defendants should
      retract and take down any, and all, defamatory statements made and
      published by defendants that accuse plaintiff of (1) furthering and
      promoting pornography in a manner that violated the ethical and
      professional practices adhered to and expected of doulas and
      photographers; (2) being a sexual predator, acting in a manner that,
      and thereby, violated the ethical and professional practices of doulas
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     and photographers and also violated criminal statutes; (3) enticing
     others to participate in pornography because of the possibility of
     financial gain and plaintiff did so in a manner that violated the ethical
     and professional practices adhered to and expected of doulas and
     photographers; (4) encouraging pregnant women and others to
     become involved in selling pornography in a manner that violated the
     ethical and professional practices adhered to and expected of doulas
     and photographers; (5) dishonesty in his practice as a doula for
     plaintiff’s sexual gratification, financial gain and self-interest; (6)
     deceiving the public in his practice as a doula for plaintiff’s sexual
     gratification, financial gain and self-interest; (7) being unethical in his
     practice as a doula in a manner that, and thereby, violated the ethical
     and professional practices of doulas; (8) dishonesty in his profession
     as photographer in a manner that, and thereby, violated the ethical
     and professional practices of photographers; (9) deception in his
     profession as a photographer for plaintiff’s sexual gratification,
     financial gain and self-interest; and (10) unethical conduct in his
     profession as a photographer in a manner that, and thereby, violated
     the ethical and professional practices of photographers.
                                VIII.CLAIM VIII
      (Declaratory Relief against Defendant and Does 1 through 10)
286. Plaintiff incorporates by reference paragraphs 1 through 285 as
     though fully set forth herein.
287. So that plaintiff may present to social media websites that the herein
     defamatory statements violate the terms and conditions of social
     media websites, if they do, regarding publication of false and
     defamatory statements that tend to harass and harm other persons,
     plaintiff prays that this this court to declare as false accusations of
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     plaintiff (1) furthering and promoting pornography in a manner that
     violated the ethical and professional practices adhered to and
     expected of doulas and photographers; (2) being a sexual predator,
     acting in a manner that, and thereby, violated the ethical and
     professional practices of doulas and photographers and also violated
     criminal statutes; (3) enticing others to participate in pornography
     because of the possibility of financial gain and plaintiff did so in a
     manner that violated the ethical and professional practices adhered to
     and expected of doulas and photographers; (4) encouraging pregnant
     women and others to become involved in selling pornography in a
     manner that violated the ethical and professional practices adhered to
     and expected of doulas and photographers; (5) dishonesty in his
     practice as a doula for plaintiff’s sexual gratification, financial gain
     and self-interest; (6) deceiving the public in his practice as a doula for
     plaintiff’s sexual gratification, financial gain and self-interest; (7) being
     unethical in his practice as a doula in a manner that, and thereby,
     violated the ethical and professional practices of doulas; (8)
     dishonesty in his profession as photographer in a manner that, and
     thereby, violated the ethical and professional practices of
     photographers; (9) deception in his profession as a photographer for
     plaintiff’s sexual gratification, financial gain and self-interest; and (10)
     unethical conduct in his profession as a photographer in a manner
     that, and thereby, violated the ethical and professional practices of
     photographers.
     WHEREFORE, plaintiff prays for judgment as set forth below.
                           PRAYER FOR RELIEF
     Plaintiff, DANNY GALLAGHER, prays as to the first through eighth
claims:
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1.      Award plaintiff $100,000.00 in economic damages as to each
        defendant;
2.      Award plaintiff $5,000,000.00 as to each defendant in non-economic
        damages.
3.      Order and an injunction permanently restraining and enjoining
        defendants as set forth in the Seventh Claim including:
a. Preventing defendants from making and publishing the defamatory
     statements or any iteration of the defamatory statements as set forth
     above and herein;
b. Ordering defendants to retract the defamatory statements as set forth
     above and herein;
c. Ordering defendants to direct any, and all, websites that defendants
     posted the defamatory statements as set forth above and herein, to
     delete he defamatory statements;
4.      Award plaintiff his actual damages;
5.      Award plaintiff his costs, attorneys fees, investigatory fees and
        expenses to the fullest extent provided by law;
6.      Award punitive and exemplary damages against defendant and in
        favor of plaintiff in the sum of $10,000,000.00 by reason of
        defendants’, and each of them, malice, hatred, ill-will, despicable and
        intentional acts.




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7.     Awarding plaintiff such additional and further relief as the Court
       deems just and proper.
Dated: Honolulu, Hawai’i May 09, 2019
                         UTZURRUM LAW OFFICES, A.P.C.




                         By:         /s/ Joe Utzurrum
                         Joe Utzurrum, Attorney for plaintiff, DANNY
                         GALLAGHER




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GALLAGHER



               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII



DANNY GALLAGHER,            ) CIVIL NO.: 1:18-cv-364-LEK-KJM
                            )
              Plaintiff,    ) DEMAND FOR JURY TRIAL
                            )
          vs.               )
                            )
MATERNITYWISE INTERNATIONAL )
LLC, ANNE CROUDACE, JANE    )
HOPAKI, EMILEE SALDAYA,     )
RACHAEL AUGHENBAUGH,        )
JENNINFER CHIDESTER,        )
STEPHANIE BYERS, , BETHANY  )
KIRILLOV, SAMANTHA LAJOIE,  )
AERIN LUND, KATE PAVLOVSKY, )
CHANNA JAYDE WALZ, MADDISON )
SISLEY BOULTER, ESME        )
WHRITENOUR, ADRIANNA        )
BROOKS, NICOLETTE RAYMOND, )

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JULIE BELL, CARA GWIZD, HOLLY            )
LEPPARD-WESTHAVER, ELOISE                )
VICTORIA, VIVIAN CHAU BEST,              )
JANE DOE ONE, JANE DOE                   )
THREE, and DOES 1-10, inclusive,         )
                                         )
                   Defendants.           )

      Plaintiff, DANNY GALLAGHER, hereby, by and through its counsel of
record, request and demand that the case and matters therein be tried in
front of a jury.


Dated: Honolulu, Hawai’i May 09, 2019


                       UTZURRUM LAW OFFICES, A.P.C.




                       By:        /s/ Joe Utzurrum
                       Joe Utzurrum, Attorney for plaintiff, DANNY
                       GALLAGHER




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